                    Case 23-10161            Doc 1       Filed 02/06/23 Entered 02/06/23 14:56:53                              Desc Main
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Fill in this information to identify your case:

United States Bankruptcy Court for the:

DISTRICT OF MASSACHUSETTS

Case number (if known)                                                      Chapter      11
                                                                                                                              Check if this an
                                                                                                                              amended filing




Official Form 201
Voluntary Petition for Non-Individuals Filing for Bankruptcy                                                                                           06/22
If more space is needed, attach a separate sheet to this form. On the top of any additional pages, write the debtor's name and the case number (if
known). For more information, a separate document, Instructions for Bankruptcy Forms for Non-Individuals, is available.


1.   Debtor's name                Parlee Cycles, Inc.

2.   All other names debtor
     used in the last 8 years
     Include any assumed
     names, trade names and
     doing business as names

3.   Debtor's federal
     Employer Identification      XX-XXXXXXX
     Number (EIN)


4.   Debtor's address             Principal place of business                                     Mailing address, if different from principal place of
                                                                                                  business

                                  69 Federal Street
                                  Beverly, MA 01915
                                  Number, Street, City, State & ZIP Code                          P.O. Box, Number, Street, City, State & ZIP Code

                                  Essex                                                           Location of principal assets, if different from principal
                                  County                                                          place of business

                                                                                                  Number, Street, City, State & ZIP Code


5.   Debtor's website (URL)       www.parleecycles.com


6.   Type of debtor                   Corporation (including Limited Liability Company (LLC) and Limited Liability Partnership (LLP))
                                      Partnership (excluding LLP)
                                      Other. Specify:




Official Form 201                          Voluntary Petition for Non-Individuals Filing for Bankruptcy                                              page 1
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Debtor    Parlee Cycles, Inc.                                                                          Case number (if known)
          Name



7.   Describe debtor's business        A. Check one:
                                          Health Care Business (as defined in 11 U.S.C. § 101(27A))
                                          Single Asset Real Estate (as defined in 11 U.S.C. § 101(51B))
                                          Railroad (as defined in 11 U.S.C. § 101(44))
                                          Stockbroker (as defined in 11 U.S.C. § 101(53A))
                                          Commodity Broker (as defined in 11 U.S.C. § 101(6))
                                          Clearing Bank (as defined in 11 U.S.C. § 781(3))

                                          None of the above

                                       B. Check all that apply
                                          Tax-exempt entity (as described in 26 U.S.C. §501)
                                          Investment company, including hedge fund or pooled investment vehicle (as defined in 15 U.S.C. §80a-3)
                                          Investment advisor (as defined in 15 U.S.C. §80b-2(a)(11))

                                       C. NAICS (North American Industry Classification System) 4-digit code that best describes debtor. See
                                         http://www.uscourts.gov/four-digit-national-association-naics-codes.
                                                 3751

8.   Under which chapter of the        Check one:
     Bankruptcy Code is the
                                          Chapter 7
     debtor filing?
     A debtor who is a “small             Chapter 9
     business debtor” must check          Chapter 11. Check all that apply:
     the first sub-box. A debtor as
     defined in § 1182(1) who                                    The debtor is a small business debtor as defined in 11 U.S.C. § 101(51D), and its aggregate
     elects to proceed under                                     noncontingent liquidated debts (excluding debts owed to insiders or affiliates) are less than
     subchapter V of chapter 11                                  $3,024,725. If this sub-box is selected, attach the most recent balance sheet, statement of
     (whether or not the debtor is a                             operations, cash-flow statement, and federal income tax return or if any of these documents do not
     “small business debtor”) must                               exist, follow the procedure in 11 U.S.C. § 1116(1)(B).
     check the second sub-box.
                                                                 The debtor is a debtor as defined in 11 U.S.C. § 1182(1), its aggregate noncontingent liquidated
                                                                 debts (excluding debts owed to insiders or affiliates) are less than $7,500,000, and it chooses to
                                                                 proceed under Subchapter V of Chapter 11. If this sub-box is selected, attach the most recent
                                                                 balance sheet, statement of operations, cash-flow statement, and federal income tax return, or if
                                                                 any of these documents do not exist, follow the procedure in 11 U.S.C. § 1116(1)(B).
                                                                 A plan is being filed with this petition.
                                                                 Acceptances of the plan were solicited prepetition from one or more classes of creditors, in
                                                                 accordance with 11 U.S.C. § 1126(b).
                                                                 The debtor is required to file periodic reports (for example, 10K and 10Q) with the Securities and
                                                                 Exchange Commission according to § 13 or 15(d) of the Securities Exchange Act of 1934. File the
                                                                 Attachment to Voluntary Petition for Non-Individuals Filing for Bankruptcy under Chapter 11
                                                                 (Official Form 201A) with this form.
                                                                 The debtor is a shell company as defined in the Securities Exchange Act of 1934 Rule 12b-2.
                                          Chapter 12

9.   Were prior bankruptcy                No.
     cases filed by or against
     the debtor within the last 8         Yes.
     years?
     If more than 2 cases, attach a
     separate list.                              District                                 When                                  Case number
                                                 District                                 When                                  Case number




Official Form 201                            Voluntary Petition for Non-Individuals Filing for Bankruptcy                                                 page 2
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Debtor    Parlee Cycles, Inc.                                                                             Case number (if known)
          Name

10. Are any bankruptcy cases                 No
    pending or being filed by a
    business partner or an                   Yes.
    affiliate of the debtor?




     List all cases. If more than 1,
     attach a separate list                          Debtor                                                                    Relationship
                                                     District                                 When                             Case number, if known


11. Why is the case filed in           Check all that apply:
    this district?
                                                Debtor has had its domicile, principal place of business, or principal assets in this district for 180 days immediately
                                                preceding the date of this petition or for a longer part of such 180 days than in any other district.
                                                A bankruptcy case concerning debtor's affiliate, general partner, or partnership is pending in this district.

12. Does the debtor own or                 No
    have possession of any
    real property or personal                       Answer below for each property that needs immediate attention. Attach additional sheets if needed.
                                           Yes.
    property that needs
    immediate attention?                            Why does the property need immediate attention? (Check all that apply.)
                                                       It poses or is alleged to pose a threat of imminent and identifiable hazard to public health or safety.
                                                      What is the hazard?
                                                       It needs to be physically secured or protected from the weather.
                                                       It includes perishable goods or assets that could quickly deteriorate or lose value without attention (for example,
                                                      livestock, seasonal goods, meat, dairy, produce, or securities-related assets or other options).
                                                       Other
                                                    Where is the property?
                                                                                     Number, Street, City, State & ZIP Code
                                                    Is the property insured?
                                                       No
                                                       Yes.     Insurance agency
                                                                Contact name
                                                                Phone



          Statistical and administrative information

13. Debtor's estimation of             .         Check one:
    available funds
                                                    Funds will be available for distribution to unsecured creditors.
                                                    After any administrative expenses are paid, no funds will be available to unsecured creditors.

14. Estimated number of                    1-49                                             1,000-5,000                                 25,001-50,000
    creditors                                                                               5001-10,000                                 50,001-100,000
                                           50-99
                                           100-199                                          10,001-25,000                               More than100,000
                                           200-999

15. Estimated Assets                       $0 - $50,000                                     $1,000,001 - $10 million                    $500,000,001 - $1 billion
                                           $50,001 - $100,000                               $10,000,001 - $50 million                   $1,000,000,001 - $10 billion
                                           $100,001 - $500,000                              $50,000,001 - $100 million                  $10,000,000,001 - $50 billion
                                           $500,001 - $1 million                            $100,000,001 - $500 million                 More than $50 billion


16. Estimated liabilities                  $0 - $50,000                                     $1,000,001 - $10 million                    $500,000,001 - $1 billion

Official Form 201                                  Voluntary Petition for Non-Individuals Filing for Bankruptcy                                                     page 3
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Debtor   Parlee Cycles, Inc.                                                          Case number (if known)
         Name

                               $50,001 - $100,000                         $10,000,001 - $50 million            $1,000,000,001 - $10 billion
                               $100,001 - $500,000                        $50,000,001 - $100 million           $10,000,000,001 - $50 billion
                               $500,001 - $1 million                      $100,000,001 - $500 million          More than $50 billion




Official Form 201                    Voluntary Petition for Non-Individuals Filing for Bankruptcy                                       page 4
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Debtor    Parlee Cycles, Inc.                                                                      Case number (if known)
          Name



          Request for Relief, Declaration, and Signatures

WARNING -- Bankruptcy fraud is a serious crime. Making a false statement in connection with a bankruptcy case can result in fines up to $500,000 or
           imprisonment for up to 20 years, or both. 18 U.S.C. §§ 152, 1341, 1519, and 3571.

17. Declaration and signature
    of authorized                The debtor requests relief in accordance with the chapter of title 11, United States Code, specified in this petition.
    representative of debtor
                                 I have been authorized to file this petition on behalf of the debtor.

                                 I have examined the information in this petition and have a reasonable belief that the information is true and correct.

                                 I declare under penalty of perjury that the foregoing is true and correct.

                                 Executed on      February 6, 2023
                                                  MM / DD / YYYY


                             X   /s/ Robert K. Parlee                                                     Robert K. Parlee
                                 Signature of authorized representative of debtor                         Printed name

                                 Title   President




18. Signature of attorney    X   /s/ David B. Madoff                                                       Date February 6, 2023
                                 Signature of attorney for debtor                                               MM / DD / YYYY

                                 David B. Madoff 552968
                                 Printed name

                                 Madoff & Khoury LLP
                                 Firm name

                                 124 Washington Street, Suite 202
                                 Foxborough, MA 02035
                                 Number, Street, City, State & ZIP Code


                                 Contact phone     508-543-0040                  Email address      alston@mandkllp.com

                                 552968 MA
                                 Bar number and State




Official Form 201                         Voluntary Petition for Non-Individuals Filing for Bankruptcy                                                     page 5
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Fill in this information to identify the case:

Debtor name         Parlee Cycles, Inc.

United States Bankruptcy Court for the:     DISTRICT OF MASSACHUSETTS

Case number (if known)
                                                                                                                                Check if this is an
                                                                                                                                amended filing



Official Form 202
Declaration Under Penalty of Perjury for Non-Individual Debtors                                                                                       12/15

An individual who is authorized to act on behalf of a non-individual debtor, such as a corporation or partnership, must sign and submit this
form for the schedules of assets and liabilities, any other document that requires a declaration that is not included in the document, and any
amendments of those documents. This form must state the individual’s position or relationship to the debtor, the identity of the document,
and the date. Bankruptcy Rules 1008 and 9011.

WARNING -- Bankruptcy fraud is a serious crime. Making a false statement, concealing property, or obtaining money or property by fraud in
connection with a bankruptcy case can result in fines up to $500,000 or imprisonment for up to 20 years, or both. 18 U.S.C. §§ 152, 1341,
1519, and 3571.



             Declaration and signature


      I am the president, another officer, or an authorized agent of the corporation; a member or an authorized agent of the partnership; or another
      individual serving as a representative of the debtor in this case.

      I have examined the information in the documents checked below and I have a reasonable belief that the information is true and correct:

               Schedule A/B: Assets–Real and Personal Property (Official Form 206A/B)
               Schedule D: Creditors Who Have Claims Secured by Property (Official Form 206D)
               Schedule E/F: Creditors Who Have Unsecured Claims (Official Form 206E/F)
               Schedule G: Executory Contracts and Unexpired Leases (Official Form 206G)
               Schedule H: Codebtors (Official Form 206H)
               Summary of Assets and Liabilities for Non-Individuals (Official Form 206Sum)
               Amended Schedule
               Chapter 11 or Chapter 9 Cases: List of Creditors Who Have the 20 Largest Unsecured Claims and Are Not Insiders (Official Form 204)
               Other document that requires a declaration

      I declare under penalty of perjury that the foregoing is true and correct.

       Executed on       February 6, 2023                X /s/ Robert K. Parlee
                                                           Signature of individual signing on behalf of debtor

                                                            Robert K. Parlee
                                                            Printed name

                                                            President
                                                            Position or relationship to debtor




Official Form 202                                   Declaration Under Penalty of Perjury for Non-Individual Debtors
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 Fill in this information to identify the case:
 Debtor name Parlee Cycles, Inc.
 United States Bankruptcy Court for the: DISTRICT OF MASSACHUSETTS                                                                           Check if this is an

 Case number (if known):                                                                                                                     amended filing




Official Form 204
Chapter 11 or Chapter 9 Cases: List of Creditors Who Have the 20 Largest Unsecured Claims and
Are Not Insiders                                                                           12/15

A list of creditors holding the 20 largest unsecured claims must be filed in a Chapter 11 or Chapter 9 case. Include claims which the
debtor disputes. Do not include claims by any person or entity who is an insider, as defined in 11 U.S.C. § 101(31). Also, do not
include claims by secured creditors, unless the unsecured claim resulting from inadequate collateral value places the creditor
among the holders of the 20 largest unsecured claims.

 Name of creditor and      Name, telephone number Nature of claim               Indicate if claim   Amount of claim
 complete mailing address, and email address of   (for example, trade            is contingent,     If the claim is fully unsecured, fill in only unsecured claim amount. If
 including zip code        creditor contact       debts, bank loans,            unliquidated, or    claim is partially secured, fill in total claim amount and deduction for
                                                  professional services,            disputed        value of collateral or setoff to calculate unsecured claim.
                                                  and government                                    Total claim, if            Deduction for value        Unsecured claim
                                                  contracts)                                        partially secured          of collateral or setoff
 April Joyce                                         Deposit Creditor                                                                                              $5,345.50
 c/o Gus' Bike Shop
 55 Lafayette Road
 North Hampton, NH
 03862
 Bank of America                                     Business Credit                                                                                               $5,544.82
 P.O. Box 15796                                      Card
 Wilmington, DE
 19886-5726
 BCA                                                 Business Debt                                                                                               $75,247.28
 155 Highway 46
 West
 Fairfield, NJ 07004
 BOC International                                   Business Debt                                                                                               $15,336.19
 Inc.
 21 Drydock Avenue
 Boston, MA 02210
 Bowen Sports                                        Business Debt                                                                                                 $4,574.00
 Performance
 (individual)
 225 NE Lafayette
 Avenue
 Bend, OR 97701
 Boyd Cycling                                        Business Debt                                                                                               $10,976.94
 1105 Old Buncombe
 Road
 Greenville, SC 29617
 Capital One                                         Business Credit                                                                                               $9,451.25
 PO Box 71087                                        Card
 Charlotte, NC 28272
 Chase Card                                          Business Credit                                                                                               $9,980.47
 P.O. Box 15153                                      Card
 Wilmington, DE
 19886
 Fed Ex                                              Business Debt                                                                                                 $5,110.87
 P.O. Box 371461
 Pittsburgh, PA
 15250

Official form 204                       Chapter 11 or Chapter 9 Cases: List of Creditors Who Have the 20 Largest Unsecured claims                                 page 1
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 Debtor    Parlee Cycles, Inc.                                                                       Case number (if known)
           Name

 Name of creditor and      Name, telephone number Nature of claim               Indicate if claim   Amount of claim
 complete mailing address, and email address of   (for example, trade            is contingent,     If the claim is fully unsecured, fill in only unsecured claim amount. If
 including zip code        creditor contact       debts, bank loans,            unliquidated, or    claim is partially secured, fill in total claim amount and deduction for
                                                  professional services,            disputed        value of collateral or setoff to calculate unsecured claim.
                                                  and government                                    Total claim, if            Deduction for value        Unsecured claim
                                                  contracts)                                        partially secured          of collateral or setoff
 ITG International                                   Business Debt                                                                                               $46,901.23
 Transports, Inc.
 6 Kimball Lane
 Lynnfield, MA 01941
 James King                                          Deposit Creditor                                                                                              $4,542.45
 c/o Sky Blue Bikes
 419R Queens Road
 West
 Shek Tong Tsui,
 Hong Kong
 Panso Composites                                    Business Debt                                                                                             $362,149.52
 Co., Ltd
 Skybox Composites
 Co., Ltd
 12F No. 150, Jiuru
 2nd Rd.
 Kaohsiung City TW
 Piermont Bicycle                                    Business Debt                                                                                               $14,103.67
 Connection
 212 Ash Street
 Piermont, NY 10968
 Richard Manders                                     Deposit Creditor                                                                                            $14,572.56
 23 Cleveland Street
 Somerville, MA
 02143
 Shimano American                                    Business Debt                                                                                             $214,327.19
 Corp.
 PO Box 513838
 Los Angeles, CA
 90051
 Signature Cycles                                    Business Debt                                                                                                 $6,000.00
 14 Railroad Avenue
 Greenwich, CT
 06830
 SRAM, LLC                                           Business Debt                                                                                             $423,313.45
 24213 Newwork
 Place
 Chicago, IL 60673
 Tony Porter                                         Deposit Creditor                                                                                              $6,699.50
 c/o Bespoke Cycles
 2843 Clay Street
 San Francisco, CA
 94115
 U.S. Small Business                                 All Assets                                         $2,060,788.27             $1,999,532.00                $990,598.27
 Administration
 2 North Street, Suite
 320
 Birmingham, AL
 35203




Official form 204                       Chapter 11 or Chapter 9 Cases: List of Creditors Who Have the 20 Largest Unsecured claims                                 page 2
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 Debtor    Parlee Cycles, Inc.                                                                       Case number (if known)
           Name

 Name of creditor and      Name, telephone number Nature of claim               Indicate if claim   Amount of claim
 complete mailing address, and email address of   (for example, trade            is contingent,     If the claim is fully unsecured, fill in only unsecured claim amount. If
 including zip code        creditor contact       debts, bank loans,            unliquidated, or    claim is partially secured, fill in total claim amount and deduction for
                                                  professional services,            disputed        value of collateral or setoff to calculate unsecured claim.
                                                  and government                                    Total claim, if            Deduction for value        Unsecured claim
                                                  contracts)                                        partially secured          of collateral or setoff
 Wrench Science (for                                 Business Debt                                                                                                 $4,544.00
 individual)
 1022 Murray Street
 Berkeley, CA 94710




Official form 204                       Chapter 11 or Chapter 9 Cases: List of Creditors Who Have the 20 Largest Unsecured claims                                 page 3
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Fill in this information to identify the case:

Debtor name           Parlee Cycles, Inc.

United States Bankruptcy Court for the:                      DISTRICT OF MASSACHUSETTS

Case number (if known)
                                                                                                                                                                                     Check if this is an
                                                                                                                                                                                     amended filing



Official Form 206Sum
Summary of Assets and Liabilities for Non-Individuals                                                                                                                                                12/15

Part 1:     Summary of Assets


1.   Schedule A/B: Assets-Real and Personal Property (Official Form 206A/B)

     1a. Real property:
         Copy line 88 from Schedule A/B.............................................................................................................................                  $                    0.00

     1b. Total personal property:
         Copy line 91A from Schedule A/B.........................................................................................................................                     $        2,133,908.00

     1c. Total of all property:
         Copy line 92 from Schedule A/B...........................................................................................................................                    $        2,133,908.00


Part 2:     Summary of Liabilities


2.   Schedule D: Creditors Who Have Claims Secured by Property (Official Form 206D)
     Copy the total dollar amount listed in Column A, Amount of claim, from line 3 of Schedule D....................................                                                  $        2,992,730.62


3.   Schedule E/F: Creditors Who Have Unsecured Claims (Official Form 206E/F)

     3a. Total claim amounts of priority unsecured claims:
         Copy the total claims from Part 1 from line 5a of Schedule E/F..........................................................................                                     $           100,744.69

     3b. Total amount of claims of nonpriority amount of unsecured claims:
         Copy the total of the amount of claims from Part 2 from line 5b of Schedule E/F................................................                                             +$        1,224,432.28


4.   Total liabilities .......................................................................................................................................................
     Lines 2 + 3a + 3b                                                                                                                                                           $           4,317,907.59




Official Form 206Sum                                             Summary of Assets and Liabilities for Non-Individuals                                                                                page 1
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Fill in this information to identify the case:

Debtor name         Parlee Cycles, Inc.

United States Bankruptcy Court for the:      DISTRICT OF MASSACHUSETTS

Case number (if known)
                                                                                                                                      Check if this is an
                                                                                                                                      amended filing



Official Form 206A/B
Schedule A/B: Assets - Real and Personal Property                                                                                                     12/15
Disclose all property, real and personal, which the debtor owns or in which the debtor has any other legal, equitable, or future interest.
Include all property in which the debtor holds rights and powers exercisable for the debtor's own benefit. Also include assets and properties
which have no book value, such as fully depreciated assets or assets that were not capitalized. In Schedule A/B, list any executory contracts
or unexpired leases. Also list them on Schedule G: Executory Contracts and Unexpired Leases (Official Form 206G).

Be as complete and accurate as possible. If more space is needed, attach a separate sheet to this form. At the top of any pages added, write
the debtor’s name and case number (if known). Also identify the form and line number to which the additional information applies. If an
additional sheet is attached, include the amounts from the attachment in the total for the pertinent part.

For Part 1 through Part 11, list each asset under the appropriate category or attach separate supporting schedules, such as a fixed asset
schedule or depreciation schedule, that gives the details for each asset in a particular category. List each asset only once. In valuing the
debtor’s interest, do not deduct the value of secured claims. See the instructions to understand the terms used in this form.
Part 1:      Cash and cash equivalents
1. Does the debtor have any cash or cash equivalents?

       No. Go to Part 2.
        Yes Fill in the information below.
     All cash or cash equivalents owned or controlled by the debtor                                                                   Current value of
                                                                                                                                      debtor's interest

3.        Checking, savings, money market, or financial brokerage accounts (Identify all)
          Name of institution (bank or brokerage firm)         Type of account                             Last 4 digits of account
                                                                                                           number


          3.1.     Bank Gloucester                                   Business Checking                     1966                                    $34,128.00




          3.2.     TD Bank                                           Business Checking                     4727                                  $133,167.00



4.        Other cash equivalents (Identify all)

5.        Total of Part 1.                                                                                                                   $167,295.00
          Add lines 2 through 4 (including amounts on any additional sheets). Copy the total to line 80.

Part 2:          Deposits and Prepayments
6. Does the debtor have any deposits or prepayments?

       No. Go to Part 3.
       Yes Fill in the information below.


Part 3:          Accounts receivable
10. Does the debtor have any accounts receivable?

       No. Go to Part 4.
       Yes Fill in the information below.

11.       Accounts receivable

Official Form 206A/B                                Schedule A/B Assets - Real and Personal Property                                                        page 1
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Debtor       Parlee Cycles, Inc.                                                            Case number (If known)
             Name


          11b. Over 90 days old:                        82,832.00      -                           29,046.00 =....                       $53,786.00
                                      face amount                             doubtful or uncollectible accounts



12.       Total of Part 3.                                                                                                           $53,786.00
          Current value on lines 11a + 11b = line 12. Copy the total to line 82.

Part 4:      Investments
13. Does the debtor own any investments?

      No. Go to Part 5.
      Yes Fill in the information below.


Part 5:      Inventory, excluding agriculture assets
18. Does the debtor own any inventory (excluding agriculture assets)?

      No. Go to Part 6.
      Yes Fill in the information below.

          General description                Date of the last              Net book value of         Valuation method used     Current value of
                                             physical inventory            debtor's interest         for current value         debtor's interest
                                                                           (Where available)

19.       Raw materials
          Carbon fiber, tubes and
          small parts                        01/20/23                                     $0.00      Cost                                $53,315.00



20.       Work in progress
          9 Custom Z0s on order              01/20/23                                     $0.00      Value of sale                       $60,000.00


          14 stock Z0s - not sold            1/16/23                                      $0.00      Cost                                $28,000.00



21.       Finished goods, including goods held for resale
          Bicycle frames, forks,
          drivetrains, wheels, and
          all other parts to make a
          complete bicycle                   1/3 and 1/4 2023                             $0.00      Replacement                      $1,738,532.00



22.       Other inventory or supplies

23.       Total of Part 5.                                                                                                        $1,879,847.00
          Add lines 19 through 22. Copy the total to line 84.

24.       Is any of the property listed in Part 5 perishable?
             No
             Yes

25.       Has any of the property listed in Part 5 been purchased within 20 days before the bankruptcy was filed?
             No
             Yes. Book value                              Valuation method                                Current Value

26.       Has any of the property listed in Part 5 been appraised by a professional within the last year?
             No
             Yes
Official Form 206A/B                                Schedule A/B Assets - Real and Personal Property                                           page 2
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Debtor       Parlee Cycles, Inc.                                                            Case number (If known)
             Name



Part 6:      Farming and fishing-related assets (other than titled motor vehicles and land)
27. Does the debtor own or lease any farming and fishing-related assets (other than titled motor vehicles and land)?

      No. Go to Part 7.
      Yes Fill in the information below.


Part 7:      Office furniture, fixtures, and equipment; and collectibles
38. Does the debtor own or lease any office furniture, fixtures, equipment, or collectibles?

      No. Go to Part 8.
      Yes Fill in the information below.

          General description                                            Net book value of          Valuation method used     Current value of
                                                                         debtor's interest          for current value         debtor's interest
                                                                         (Where available)

39.       Office furniture

40.       Office fixtures

41.       Office equipment, including all computer equipment and
          communication systems equipment and software
          Office equipment including desks, computers,
          color printer, bar code scanner                                            $5,000.00      Comparable sale                      $2,000.00


          Software                                                                   $8,000.00      Liquidation                               $0.00



42.       Collectibles Examples: Antiques and figurines; paintings, prints, or other artwork;
          books, pictures, or other art objects; china and crystal; stamp, coin, or baseball card
          collections; other collections, memorabilia, or collectibles

43.       Total of Part 7.                                                                                                               $2,000.00
          Add lines 39 through 42. Copy the total to line 86.

44.       Is a depreciation schedule available for any of the property listed in Part 7?
             No
             Yes

45.       Has any of the property listed in Part 7 been appraised by a professional within the last year?
             No
             Yes

Part 8:      Machinery, equipment, and vehicles
46. Does the debtor own or lease any machinery, equipment, or vehicles?

      No. Go to Part 9.
      Yes Fill in the information below.

          General description                                            Net book value of          Valuation method used     Current value of
          Include year, make, model, and identification numbers          debtor's interest          for current value         debtor's interest
          (i.e., VIN, HIN, or N-number)                                  (Where available)

47.       Automobiles, vans, trucks, motorcycles, trailers, and titled farm vehicles

          47.1.    2015 Subaru Outback                                                    $0.00     KBB                                  $5,745.00


          47.2.    2008 Nissan Titan                                                      $0.00     KBB                                  $1,235.00

Official Form 206A/B                                Schedule A/B Assets - Real and Personal Property                                          page 3
               Case 23-10161               Doc 1       Filed 02/06/23 Entered 02/06/23 14:56:53                         Desc Main
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Debtor        Parlee Cycles, Inc.                                                       Case number (If known)
              Name



           47.3.    Trailer                                                           $0.00     Liquidation                          $1,000.00



48.        Watercraft, trailers, motors, and related accessories Examples: Boats, trailers, motors,
           floating homes, personal watercraft, and fishing vessels

49.        Aircraft and accessories


50.        Other machinery, fixtures, and equipment (excluding farm
           machinery and equipment)
           Manufacturing Machinery                                                    $0.00     Liquidation                         $23,000.00


           Manufacturing Molds (likely value $0)                                $85,000.00      Liquidation                               $0.00



51.        Total of Part 8.                                                                                                     $30,980.00
           Add lines 47 through 50. Copy the total to line 87.

52.        Is a depreciation schedule available for any of the property listed in Part 8?
              No
              Yes

53.        Has any of the property listed in Part 8 been appraised by a professional within the last year?
              No
              Yes

Part 9:       Real property
54. Does the debtor own or lease any real property?

      No. Go to Part 10.
      Yes Fill in the information below.


Part 10:      Intangibles and intellectual property
59. Does the debtor have any interests in intangibles or intellectual property?

      No. Go to Part 11.
      Yes Fill in the information below.

           General description                                        Net book value of         Valuation method used     Current value of
                                                                      debtor's interest         for current value         debtor's interest
                                                                      (Where available)

60.        Patents, copyrights, trademarks, and trade secrets

61.        Internet domain names and websites
           www.parleecycles.com (see attached list)                                   $0.00                                               $0.00



62.        Licenses, franchises, and royalties

63.        Customer lists, mailing lists, or other compilations
           Customer List (see attached)                                               $0.00                                               $0.00



64.        Other intangibles, or intellectual property


Official Form 206A/B                                Schedule A/B Assets - Real and Personal Property                                      page 4
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                                                         Document     Page 19 of 72
Debtor        Parlee Cycles, Inc.                                                          Case number (If known)
              Name

65.        Goodwill

66.        Total of Part 10.                                                                                                            $0.00
           Add lines 60 through 65. Copy the total to line 89.

67.        Do your lists or records include personally identifiable information of customers (as defined in 11 U.S.C.§§ 101(41A) and 107?
              No
              Yes

68.        Is there an amortization or other similar schedule available for any of the property listed in Part 10?
              No
              Yes

69.        Has any of the property listed in Part 10 been appraised by a professional within the last year?
              No
              Yes

Part 11:      All other assets
70. Does the debtor own any other assets that have not yet been reported on this form?
    Include all interests in executory contracts and unexpired leases not previously reported on this form.

      No. Go to Part 12.
      Yes Fill in the information below.




Official Form 206A/B                                 Schedule A/B Assets - Real and Personal Property                                       page 5
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                                                                      Document     Page 20 of 72
Debtor          Parlee Cycles, Inc.                                                                                 Case number (If known)
                Name



Part 12:        Summary

In Part 12 copy all of the totals from the earlier parts of the form
      Type of property                                                                              Current value of                    Current value of real
                                                                                                    personal property                   property

80. Cash, cash equivalents, and financial assets.
    Copy line 5, Part 1                                                                                          $167,295.00

81. Deposits and prepayments. Copy line 9, Part 2.                                                                          $0.00

82. Accounts receivable. Copy line 12, Part 3.                                                                     $53,786.00

83. Investments. Copy line 17, Part 4.                                                                                      $0.00

84. Inventory. Copy line 23, Part 5.                                                                           $1,879,847.00

85. Farming and fishing-related assets. Copy line 33, Part 6.                                                               $0.00

86. Office furniture, fixtures, and equipment; and collectibles.
    Copy line 43, Part 7.                                                                                            $2,000.00

87. Machinery, equipment, and vehicles. Copy line 51, Part 8.                                                      $30,980.00

88. Real property. Copy line 56, Part 9.........................................................................................>                                $0.00

89. Intangibles and intellectual property. Copy line 66, Part 10.                                                           $0.00

90. All other assets. Copy line 78, Part 11.                                                    +                           $0.00

91. Total. Add lines 80 through 90 for each column                                                         $2,133,908.00            + 91b.                      $0.00


92. Total of all property on Schedule A/B. Add lines 91a+91b=92                                                                                                 $2,133,908.00




Official Form 206A/B                                              Schedule A/B Assets - Real and Personal Property                                                        page 6
                Case 23-10161                    Doc 1        Filed 02/06/23 Entered 02/06/23 14:56:53                               Desc Main
                                                               Document     Page 21 of 72
Fill in this information to identify the case:

Debtor name         Parlee Cycles, Inc.

United States Bankruptcy Court for the:           DISTRICT OF MASSACHUSETTS

Case number (if known)
                                                                                                                                           Check if this is an
                                                                                                                                           amended filing

Official Form 206D
Schedule D: Creditors Who Have Claims Secured by Property                                                                                                  12/15
Be as complete and accurate as possible.
1. Do any creditors have claims secured by debtor's property?
        No. Check this box and submit page 1 of this form to the court with debtor's other schedules. Debtor has nothing else to report on this form.
        Yes. Fill in all of the information below.
Part 1:     List Creditors Who Have Secured Claims
                                                                                                                 Column A                    Column B
2. List in alphabetical order all creditors who have secured claims. If a creditor has more than one secured
claim, list the creditor separately for each claim.                                                              Amount of claim             Value of collateral
                                                                                                                                             that supports this
                                                                                                                 Do not deduct the value     claim
                                                                                                                 of collateral.
2.1   Bank Gloucester                              Describe debtor's property that is subject to a lien                 $876,711.00             $1,999,532.00
      Creditor's Name                              All Assets
      160 Main Street
      Gloucester, MA 01930
      Creditor's mailing address                   Describe the lien
                                                   Business Line of Credit
                                                   Is the creditor an insider or related party?
                                                      No
      Creditor's email address, if known               Yes
                                                   Is anyone else liable on this claim?
      Date debt was incurred                          No
      6/26/14                                         Yes. Fill out Schedule H: Codebtors (Official Form 206H)
      Last 4 digits of account number
      2801
      Do multiple creditors have an                As of the petition filing date, the claim is:
      interest in the same property?               Check all that apply
          No                                          Contingent
          Yes. Specify each creditor,                 Unliquidated
      including this creditor and its relative        Disputed
      priority.



      Beneficial/New Lane
2.2                                                Describe debtor's property that is subject to a lien                     $2,600.00                Unknown
      Financing
      Creditor's Name                              Carbon Cutter
      123 S. Broad St.
      17th Fl
      Philadelphia, PA 19109
      Creditor's mailing address                   Describe the lien
                                                   Asset Lien
                                                   Is the creditor an insider or related party?
                                                      No
      Creditor's email address, if known               Yes
                                                   Is anyone else liable on this claim?
      Date debt was incurred                          No
      2017                                            Yes. Fill out Schedule H: Codebtors (Official Form 206H)
      Last 4 digits of account number

      Do multiple creditors have an                As of the petition filing date, the claim is:
      interest in the same property?               Check all that apply


Official Form 206D                               Schedule D: Creditors Who Have Claims Secured by Property                                                page 1 of 3
                 Case 23-10161                    Doc 1       Filed 02/06/23 Entered 02/06/23 14:56:53                                  Desc Main
                                                               Document     Page 22 of 72
Debtor       Parlee Cycles, Inc.                                                                   Case number (if known)
             Name

           No                                         Contingent
           Yes. Specify each creditor,                Unliquidated
       including this creditor and its relative       Disputed
       priority.



       Massachusetts Growth
2.3                                                                                                                          $52,631.35              $1,999,532.00
       Capital Corp.                               Describe debtor's property that is subject to a lien
       Creditor's Name                             All Assets
       The Schrafft's Center
       529 Main Street
       Charlestown, MA 02129
       Creditor's mailing address                  Describe the lien
                                                   All Asset Lien
                                                   Is the creditor an insider or related party?
                                                      No
       Creditor's email address, if known              Yes
                                                   Is anyone else liable on this claim?
       Date debt was incurred                         No
       9/14/17                                        Yes. Fill out Schedule H: Codebtors (Official Form 206H)
       Last 4 digits of account number

       Do multiple creditors have an               As of the petition filing date, the claim is:
       interest in the same property?              Check all that apply
           No                                         Contingent
           Yes. Specify each creditor,                Unliquidated
       including this creditor and its relative       Disputed
       priority.



       U.S. Small Business
2.4                                                Describe debtor's property that is subject to a lien                 $2,060,788.27                $1,999,532.00
       Administration
       Creditor's Name                             All Assets
       2 North Street, Suite 320
       Birmingham, AL 35203
       Creditor's mailing address                  Describe the lien
                                                   All Asset Lien
                                                   Is the creditor an insider or related party?
                                                      No
       Creditor's email address, if known              Yes
                                                   Is anyone else liable on this claim?
       Date debt was incurred                         No
       5/7/2020                                       Yes. Fill out Schedule H: Codebtors (Official Form 206H)
       Last 4 digits of account number
       7402
       Do multiple creditors have an               As of the petition filing date, the claim is:
       interest in the same property?              Check all that apply
           No                                         Contingent
           Yes. Specify each creditor,                Unliquidated
       including this creditor and its relative       Disputed
       priority.



                                                                                                                            $2,992,730.6
3.    Total of the dollar amounts from Part 1, Column A, including the amounts from the Additional Page, if any.                       2

Part 2:     List Others to Be Notified for a Debt Already Listed in Part 1
List in alphabetical order any others who must be notified for a debt already listed in Part 1. Examples of entities that may be listed are collection agencies,
assignees of claims listed above, and attorneys for secured creditors.

If no others need to notified for the debts listed in Part 1, do not fill out or submit this page. If additional pages are needed, copy this page.

Official Form 206D                     Additional Page of Schedule D: Creditors Who Have Claims Secured by Property                                         page 2 of 3
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Debtor    Parlee Cycles, Inc.                                                Case number (if known)
          Name

      Name and address                                                               On which line in Part 1 did       Last 4 digits of
                                                                                     you enter the related creditor?   account number for
                                                                                                                       this entity
      Encore Leasing Group, LLC
      815 Mission Avenue, Suite 202                                                  Line   2.2
      Oceanside, CA 92054

      TCF Equipment Finance
      11100 Wayzata Blvd., Ste. 801                                                  Line   2.2
      Hopkins, MN 55305




Official Form 206D        Additional Page of Schedule D: Creditors Who Have Claims Secured by Property                            page 3 of 3
                Case 23-10161                 Doc 1         Filed 02/06/23 Entered 02/06/23 14:56:53                                     Desc Main
                                                             Document     Page 24 of 72
Fill in this information to identify the case:

Debtor name        Parlee Cycles, Inc.

United States Bankruptcy Court for the:          DISTRICT OF MASSACHUSETTS

Case number (if known)
                                                                                                                                               Check if this is an
                                                                                                                                               amended filing


Official Form 206E/F
Schedule E/F: Creditors Who Have Unsecured Claims                                                                                                              12/15
Be as complete and accurate as possible. Use Part 1 for creditors with PRIORITY unsecured claims and Part 2 for creditors with NONPRIORITY unsecured claims.
List the other party to any executory contracts or unexpired leases that could result in a claim. Also list executory contracts on Schedule A/B: Assets - Real and
Personal Property (Official Form 206A/B) and on Schedule G: Executory Contracts and Unexpired Leases (Official Form 206G). Number the entries in Parts 1 and
2 in the boxes on the left. If more space is needed for Part 1 or Part 2, fill out and attach the Additional Page of that Part included in this form.

Part 1:      List All Creditors with PRIORITY Unsecured Claims

      1. Do any creditors have priority unsecured claims? (See 11 U.S.C. § 507).

            No. Go to Part 2.

            Yes. Go to line 2.

      2. List in alphabetical order all creditors who have unsecured claims that are entitled to priority in whole or in part. If the debtor has more than 3 creditors
         with priority unsecured claims, fill out and attach the Additional Page of Part 1.

                                                                                                                                 Total claim           Priority amount

2.1       Priority creditor's name and mailing address        As of the petition filing date, the claim is:                               $139.00         $139.00
          Andrew Gray                                         Check all that apply.
          4935 Steelhead Street                                  Contingent
          Juneau, AK 99801                                       Unliquidated
                                                                 Disputed

          Date or dates debt was incurred                     Basis for the claim:
          2/2023                                              Deposit Creditor

          Last 4 digits of account number 5155                Is the claim subject to offset?

          Specify Code subsection of PRIORITY                    No
          unsecured claim: 11 U.S.C. § 507(a) (7)
                                                                 Yes


2.2       Priority creditor's name and mailing address        As of the petition filing date, the claim is:                             $1,945.77         $1,945.77
          Andrew Mackay                                       Check all that apply.
          c/o Bespoke Cycling                                    Contingent
          30 Gresham Street                                      Unliquidated
          London UK EC2V7PG                                      Disputed

          Date or dates debt was incurred                     Basis for the claim:
          11/2022                                             Deposit Creditor

          Last 4 digits of account number 4811                Is the claim subject to offset?

          Specify Code subsection of PRIORITY                    No
          unsecured claim: 11 U.S.C. § 507(a) (7)
                                                                 Yes




Official Form 206E/F                                     Schedule E/F: Creditors Who Have Unsecured Claims                                                    page 1 of 21
                                                                                                              37174
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                                                           Document     Page 25 of 72
Debtor      Parlee Cycles, Inc.                                                                      Case number (if known)
            Name

2.3      Priority creditor's name and mailing address       As of the petition filing date, the claim is:                     $3,652.50   $3,350.00
         Andrew Running                                     Check all that apply.
         c/o Cronometro                                        Contingent
         338 West Lakeside Street                              Unliquidated
         Madison, WI 53715                                     Disputed

         Date or dates debt was incurred                    Basis for the claim:
         11/2022                                            Deposit Creditor

         Last 4 digits of account number 4860               Is the claim subject to offset?

         Specify Code subsection of PRIORITY                   No
         unsecured claim: 11 U.S.C. § 507(a) (7)
                                                               Yes


2.4      Priority creditor's name and mailing address       As of the petition filing date, the claim is:                      $126.10    $126.10
         Anne Sehm                                          Check all that apply.
         8307 North Classics Avenue                            Contingent
         Fresno, CA 93720                                      Unliquidated
                                                               Disputed

         Date or dates debt was incurred                    Basis for the claim:
         2/2023                                             Deposit Creditor

         Last 4 digits of account number 5145               Is the claim subject to offset?

         Specify Code subsection of PRIORITY                   No
         unsecured claim: 11 U.S.C. § 507(a) (7)
                                                               Yes


2.5      Priority creditor's name and mailing address       As of the petition filing date, the claim is:                     $5,345.50   $3,350.00
         April Joyce                                        Check all that apply.
         c/o Gus' Bike Shop                                    Contingent
         55 Lafayette Road                                     Unliquidated
         North Hampton, NH 03862                               Disputed

         Date or dates debt was incurred                    Basis for the claim:
         11/2022                                            Deposit Creditor

         Last 4 digits of account number 4807               Is the claim subject to offset?

         Specify Code subsection of PRIORITY                   No
         unsecured claim: 11 U.S.C. § 507(a) (7)
                                                               Yes


2.6      Priority creditor's name and mailing address       As of the petition filing date, the claim is:                      $298.00    $298.00
         Arthur Zerbey                                      Check all that apply.
         1451 Great Pond Road                                  Contingent
         North Andover, MA 01845                               Unliquidated
                                                               Disputed

         Date or dates debt was incurred                    Basis for the claim:
         2/2023                                             Deposit Creditor

         Last 4 digits of account number 5164               Is the claim subject to offset?

         Specify Code subsection of PRIORITY                   No
         unsecured claim: 11 U.S.C. § 507(a) (7)
                                                               Yes




Official Form 206 E/F                                   Schedule E/F: Creditors Who Have Unsecured Claims                                   Page 2 of 21
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Debtor      Parlee Cycles, Inc.                                                                      Case number (if known)
            Name

2.7      Priority creditor's name and mailing address       As of the petition filing date, the claim is:                      $759.50    $759.50
         Bartosz Polak                                      Check all that apply.
         Unit 1/27 Huntingdale Road                            Contingent
         Oakleigh VIC 3166 Australia                           Unliquidated
                                                               Disputed

         Date or dates debt was incurred                    Basis for the claim:
         2/2023                                             Deposit Creditor

         Last 4 digits of account number 5129               Is the claim subject to offset?

         Specify Code subsection of PRIORITY                   No
         unsecured claim: 11 U.S.C. § 507(a) (7)
                                                               Yes


2.8      Priority creditor's name and mailing address       As of the petition filing date, the claim is:                     $3,999.50   $0.00
         Bespoke Cycles (for individual)                    Check all that apply.
         2843 Clay Street                                      Contingent
         San Francisco, CA 94115                               Unliquidated
                                                               Disputed

         Date or dates debt was incurred                    Basis for the claim:
         1/2023                                             Business Debt
         Last 4 digits of account number                    Is the claim subject to offset?
         Specify Code subsection of PRIORITY                   No
         unsecured claim: 11 U.S.C. § 507(a) (7)
                                                               Yes


2.9      Priority creditor's name and mailing address       As of the petition filing date, the claim is:                      $151.10    $151.10
         Calvin Fong                                        Check all that apply.
         17 Telok Blangh Crescent                              Contingent
         Singapore 090017                                      Unliquidated
                                                               Disputed

         Date or dates debt was incurred                    Basis for the claim:
         2/2023                                             Deposit Creditor

         Last 4 digits of account number 5130               Is the claim subject to offset?

         Specify Code subsection of PRIORITY                   No
         unsecured claim: 11 U.S.C. § 507(a) (7)
                                                               Yes


2.10     Priority creditor's name and mailing address       As of the petition filing date, the claim is:                      $487.00    $487.00
         Clifford Aronson                                   Check all that apply.
         550 Polly Park Road                                   Contingent
         Rye, NY 10580                                         Unliquidated
                                                               Disputed

         Date or dates debt was incurred                    Basis for the claim:
         2/2023                                             Deposit Creditor

         Last 4 digits of account number 5149               Is the claim subject to offset?

         Specify Code subsection of PRIORITY                   No
         unsecured claim: 11 U.S.C. § 507(a) (7)
                                                               Yes




Official Form 206 E/F                                   Schedule E/F: Creditors Who Have Unsecured Claims                                   Page 3 of 21
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Debtor      Parlee Cycles, Inc.                                                                      Case number (if known)
            Name

2.11     Priority creditor's name and mailing address       As of the petition filing date, the claim is:                      $111.46    $111.46
         Cody Haight                                        Check all that apply.
         18 Larose Avenue                                      Contingent
         Gloucester, MA 01930                                  Unliquidated
                                                               Disputed

         Date or dates debt was incurred                    Basis for the claim:
         2/2023                                             Deposit Creditor

         Last 4 digits of account number 5150               Is the claim subject to offset?

         Specify Code subsection of PRIORITY                   No
         unsecured claim: 11 U.S.C. § 507(a) (7)
                                                               Yes


2.12     Priority creditor's name and mailing address       As of the petition filing date, the claim is:                     $2,351.67   $2,351.67
         Collete Trenchard                                  Check all that apply.
         c/o FitWerx 2 MA                                      Contingent
         67 Foster Street                                      Unliquidated
         Peabody, MA 01960                                     Disputed

         Date or dates debt was incurred                    Basis for the claim:
         1/2023                                             Deposit Creditor

         Last 4 digits of account number 5113               Is the claim subject to offset?

         Specify Code subsection of PRIORITY                   No
         unsecured claim: 11 U.S.C. § 507(a) (7)
                                                               Yes


2.13     Priority creditor's name and mailing address       As of the petition filing date, the claim is:                      $196.56    $196.56
         Craig Underwood                                    Check all that apply.
         1 Benjamin Place                                      Contingent
         Chestnut Hill, MA 02467                               Unliquidated
                                                               Disputed

         Date or dates debt was incurred                    Basis for the claim:
         2/2023                                             Deposit Creditor

         Last 4 digits of account number 5162               Is the claim subject to offset?

         Specify Code subsection of PRIORITY                   No
         unsecured claim: 11 U.S.C. § 507(a) (7)
                                                               Yes


2.14     Priority creditor's name and mailing address       As of the petition filing date, the claim is:                      $328.29    $328.29
         Cycles Bespoke                                     Check all that apply.
         Unit 6/516 Guildford Road                             Contingent
         Bayswater Wester Australia                            Unliquidated
                                                               Disputed

         Date or dates debt was incurred                    Basis for the claim:
         1/2023                                             Deposit Creditor

         Last 4 digits of account number 5110               Is the claim subject to offset?

         Specify Code subsection of PRIORITY                   No
         unsecured claim: 11 U.S.C. § 507(a) (7)
                                                               Yes




Official Form 206 E/F                                   Schedule E/F: Creditors Who Have Unsecured Claims                                   Page 4 of 21
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Debtor      Parlee Cycles, Inc.                                                                      Case number (if known)
            Name

2.15     Priority creditor's name and mailing address       As of the petition filing date, the claim is:                     $4,161.00   $3,350.00
         David Klumpp                                       Check all that apply.
         c/o Peregrine Bicycle Studio                          Contingent
                                                               Unliquidated
                                                               Disputed

         Date or dates debt was incurred                    Basis for the claim:
         10/2022                                            Business Debt

         Last 4 digits of account number 4703               Is the claim subject to offset?

         Specify Code subsection of PRIORITY                   No
         unsecured claim: 11 U.S.C. § 507(a) (7)
                                                               Yes


2.16     Priority creditor's name and mailing address       As of the petition filing date, the claim is:                     $2,611.02   $2,611.02
         David Musicant                                     Check all that apply.
         c/o Landry's                                          Contingent
         790 Worcester Street                                  Unliquidated
         Natick, MA 01760                                      Disputed

         Date or dates debt was incurred                    Basis for the claim:
         11/2022                                            Deposit Creditor

         Last 4 digits of account number 4881               Is the claim subject to offset?

         Specify Code subsection of PRIORITY                   No
         unsecured claim: 11 U.S.C. § 507(a) (7)
                                                               Yes


2.17     Priority creditor's name and mailing address       As of the petition filing date, the claim is:                      $189.00    $189.00
         Ed Liebowitz                                       Check all that apply.
         29 Grove Street                                       Contingent
         Madison, NJ 07940                                     Unliquidated
                                                               Disputed

         Date or dates debt was incurred                    Basis for the claim:
         2/2023                                             Deposit Creditor

         Last 4 digits of account number 5139               Is the claim subject to offset?

         Specify Code subsection of PRIORITY                   No
         unsecured claim: 11 U.S.C. § 507(a) (7)
                                                               Yes


2.18     Priority creditor's name and mailing address       As of the petition filing date, the claim is:                      $154.00    $154.00
         Eric Pinn                                          Check all that apply.
         104 Island Planation Terrace                          Contingent
         Vero Beach, FL 32963                                  Unliquidated
                                                               Disputed

         Date or dates debt was incurred                    Basis for the claim:
         2/2023                                             Deposit Creditor

         Last 4 digits of account number 5136               Is the claim subject to offset?

         Specify Code subsection of PRIORITY                   No
         unsecured claim: 11 U.S.C. § 507(a) (7)
                                                               Yes




Official Form 206 E/F                                   Schedule E/F: Creditors Who Have Unsecured Claims                                   Page 5 of 21
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Debtor      Parlee Cycles, Inc.                                                                      Case number (if known)
            Name

2.19     Priority creditor's name and mailing address       As of the petition filing date, the claim is:                      $324.00    $324.00
         Erik Meuleman                                      Check all that apply.
         1445 Chamber Drive                                    Contingent
         Boulder, CO 80305                                     Unliquidated
                                                               Disputed

         Date or dates debt was incurred                    Basis for the claim:
         2/2023                                             Deposit Creditor

         Last 4 digits of account number 4168               Is the claim subject to offset?

         Specify Code subsection of PRIORITY                   No
         unsecured claim: 11 U.S.C. § 507(a) (7)
                                                               Yes


2.20     Priority creditor's name and mailing address       As of the petition filing date, the claim is:                      $437.00    $437.00
         Gary Straus                                        Check all that apply.
         12264 Nasino Avenue                                   Contingent
         Las Vegas, NV 89138                                   Unliquidated
                                                               Disputed

         Date or dates debt was incurred                    Basis for the claim:
         2/2023                                             Deposit Creditor

         Last 4 digits of account number 5153               Is the claim subject to offset?

         Specify Code subsection of PRIORITY                   No
         unsecured claim: 11 U.S.C. § 507(a) (7)
                                                               Yes


2.21     Priority creditor's name and mailing address       As of the petition filing date, the claim is:                     $4,179.00   $3,350.00
         Griffin McPartland                                 Check all that apply.
         241 Oakland Avenue, Apt. 2                            Contingent
         Oakland, CA 94611                                     Unliquidated
                                                               Disputed

         Date or dates debt was incurred                    Basis for the claim:
         2/2023                                             Deposit Creditor

         Last 4 digits of account number 5173               Is the claim subject to offset?

         Specify Code subsection of PRIORITY                   No
         unsecured claim: 11 U.S.C. § 507(a) (7)
                                                               Yes


2.22     Priority creditor's name and mailing address       As of the petition filing date, the claim is:                     $2,336.00   $0.00
         Group Ostiguy (for individual)                     Check all that apply.
         24 Chemin de la rive                                  Contingent
         Lac-Beauport                                          Unliquidated
         QC G3B 1E1 CA                                         Disputed

         Date or dates debt was incurred                    Basis for the claim:
         1/2023                                             Business Debt
         Last 4 digits of account number                    Is the claim subject to offset?
         Specify Code subsection of PRIORITY                   No
         unsecured claim: 11 U.S.C. § 507(a) (7)
                                                               Yes




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Debtor      Parlee Cycles, Inc.                                                                      Case number (if known)
            Name

2.23     Priority creditor's name and mailing address       As of the petition filing date, the claim is:                      $168.46    $168.46
         Hunter Kelley                                      Check all that apply.
         22-55 38th Street, Apt. 2                             Contingent
         Astoria, NY 11105                                     Unliquidated
                                                               Disputed

         Date or dates debt was incurred                    Basis for the claim:
         2/2023                                             Deposit Creditor

         Last 4 digits of account number 5154               Is the claim subject to offset?

         Specify Code subsection of PRIORITY                   No
         unsecured claim: 11 U.S.C. § 507(a) (7)
                                                               Yes


2.24     Priority creditor's name and mailing address       As of the petition filing date, the claim is:                      $139.00    $139.00
         James Dwyer                                        Check all that apply.
         135 Split Rock Road                                   Contingent
         Spring, TX 77381                                      Unliquidated
                                                               Disputed

         Date or dates debt was incurred                    Basis for the claim:
         2/2023                                             Deposit Creditor

         Last 4 digits of account number 4168               Is the claim subject to offset?

         Specify Code subsection of PRIORITY                   No
         unsecured claim: 11 U.S.C. § 507(a) (7)
                                                               Yes


2.25     Priority creditor's name and mailing address       As of the petition filing date, the claim is:                     $4,542.45   $3,350.00
         James King                                         Check all that apply.
         c/o Sky Blue Bikes                                    Contingent
         419R Queens Road West                                 Unliquidated
         Shek Tong Tsui, Hong Kong                             Disputed

         Date or dates debt was incurred                    Basis for the claim:
         1/2023                                             Deposit Creditor

         Last 4 digits of account number 5067               Is the claim subject to offset?

         Specify Code subsection of PRIORITY                   No
         unsecured claim: 11 U.S.C. § 507(a) (7)
                                                               Yes


2.26     Priority creditor's name and mailing address       As of the petition filing date, the claim is:                     $2,121.58   $0.00
         James Yearsley                                     Check all that apply.
         c/o Push Cartel                                       Contingent
         North Road                                            Unliquidated
         Ableside, Cumbria LA22 9DT UK                         Disputed

         Date or dates debt was incurred                    Basis for the claim:
         8/2022                                             Deposit Creditor
         Last 4 digits of account number                    Is the claim subject to offset?
         Specify Code subsection of PRIORITY                   No
         unsecured claim: 11 U.S.C. § 507(a) (7)
                                                               Yes




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Debtor      Parlee Cycles, Inc.                                                                      Case number (if known)
            Name

2.27     Priority creditor's name and mailing address       As of the petition filing date, the claim is:                       $99.00    $99.00
         Jan Silverskiod                                    Check all that apply.
         101 Willits Way, Unit 103                             Contingent
         Basalt, CO 81621                                      Unliquidated
                                                               Disputed

         Date or dates debt was incurred                    Basis for the claim:
         2/2023                                             Deposit Creditor

         Last 4 digits of account number 5169               Is the claim subject to offset?

         Specify Code subsection of PRIORITY                   No
         unsecured claim: 11 U.S.C. § 507(a) (7)
                                                               Yes


2.28     Priority creditor's name and mailing address       As of the petition filing date, the claim is:                     $3,103.07   $3,103.07
         Jane Miller                                        Check all that apply.
         c/o FitWerx VT                                        Contingent
         4312 Main Street                                      Unliquidated
         Waitsfield, VT 05673                                  Disputed

         Date or dates debt was incurred                    Basis for the claim:
         1/2023                                             Deposit Creditor

         Last 4 digits of account number 5078               Is the claim subject to offset?

         Specify Code subsection of PRIORITY                   No
         unsecured claim: 11 U.S.C. § 507(a) (7)
                                                               Yes


2.29     Priority creditor's name and mailing address       As of the petition filing date, the claim is:                     $3,439.50   $3,350.00
         Jay Bowen                                          Check all that apply.
         c/o Perry Rubber Bike Shop                            Contingent
         240 Bull Street                                       Unliquidated
         Savannah, GA 31401                                    Disputed

         Date or dates debt was incurred                    Basis for the claim:
         1/2023                                             Deposit Creditor

         Last 4 digits of account number 5175               Is the claim subject to offset?

         Specify Code subsection of PRIORITY                   No
         unsecured claim: 11 U.S.C. § 507(a) (7)
                                                               Yes


2.30     Priority creditor's name and mailing address       As of the petition filing date, the claim is:                      $139.00    $139.00
         Jim Bradley                                        Check all that apply.
         2210 Van Hise Avenue                                  Contingent
         Madison, WI 53726                                     Unliquidated
                                                               Disputed

         Date or dates debt was incurred                    Basis for the claim:
         2/2023                                             Deposit Creditor

         Last 4 digits of account number 5158               Is the claim subject to offset?

         Specify Code subsection of PRIORITY                   No
         unsecured claim: 11 U.S.C. § 507(a) (7)
                                                               Yes




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Debtor      Parlee Cycles, Inc.                                                                      Case number (if known)
            Name

2.31     Priority creditor's name and mailing address       As of the petition filing date, the claim is:                     $169.00   $169.00
         Joel Winer                                         Check all that apply.
         2897 Deer Chase Lane                                  Contingent
         York, PA 17403                                        Unliquidated
                                                               Disputed

         Date or dates debt was incurred                    Basis for the claim:
         2/2023                                             Deposit Creditor

         Last 4 digits of account number 5161               Is the claim subject to offset?

         Specify Code subsection of PRIORITY                   No
         unsecured claim: 11 U.S.C. § 507(a) (7)
                                                               Yes


2.32     Priority creditor's name and mailing address       As of the petition filing date, the claim is:                      $35.00   $35.00
         John Lees                                          Check all that apply.
         16 Gurney Street                                      Contingent
         Cambridge, MA 02138                                   Unliquidated
                                                               Disputed

         Date or dates debt was incurred                    Basis for the claim:
         11/2022                                            Business Debt

         Last 4 digits of account number 4893               Is the claim subject to offset?

         Specify Code subsection of PRIORITY                   No
         unsecured claim: 11 U.S.C. § 507(a) (7)
                                                               Yes


2.33     Priority creditor's name and mailing address       As of the petition filing date, the claim is:                     $139.00   $139.00
         Kindsey Hironimus                                  Check all that apply.
         4808 Tile Line Road                                   Contingent
         Crystal Lake, IL 60012                                Unliquidated
                                                               Disputed

         Date or dates debt was incurred                    Basis for the claim:
         2/2023                                             Deposit Creditor

         Last 4 digits of account number 5148               Is the claim subject to offset?

         Specify Code subsection of PRIORITY                   No
         unsecured claim: 11 U.S.C. § 507(a) (7)
                                                               Yes


2.34     Priority creditor's name and mailing address       As of the petition filing date, the claim is:                     $139.00   $139.00
         Lisa Chance                                        Check all that apply.
         10 Old Colony Drive                                   Contingent
         Westborough, MA 01581                                 Unliquidated
                                                               Disputed

         Date or dates debt was incurred                    Basis for the claim:
         2/2023                                             Deposit Creditor

         Last 4 digits of account number 5135               Is the claim subject to offset?

         Specify Code subsection of PRIORITY                   No
         unsecured claim: 11 U.S.C. § 507(a) (7)
                                                               Yes




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Debtor      Parlee Cycles, Inc.                                                                      Case number (if known)
            Name

2.35     Priority creditor's name and mailing address       As of the petition filing date, the claim is:                      $234.00    $234.00
         Lisa Predella                                      Check all that apply.
         2 Flint Locke Lane                                    Contingent
         Medfield, MA 02052                                    Unliquidated
                                                               Disputed

         Date or dates debt was incurred                    Basis for the claim:
         2/2023                                             Deposit Creditor

         Last 4 digits of account number 5132               Is the claim subject to offset?

         Specify Code subsection of PRIORITY                   No
         unsecured claim: 11 U.S.C. § 507(a) (7)
                                                               Yes


2.36     Priority creditor's name and mailing address       As of the petition filing date, the claim is:                      $455.00    $455.00
         Lisa Rtomancce                                     Check all that apply.
         56 Beech Street                                       Contingent
         Lake Grove, NY 11755                                  Unliquidated
                                                               Disputed

         Date or dates debt was incurred                    Basis for the claim:
         12/2022                                            Deposit Creditor

         Last 4 digits of account number 4952               Is the claim subject to offset?

         Specify Code subsection of PRIORITY                   No
         unsecured claim: 11 U.S.C. § 507(a) (7)
                                                               Yes


2.37     Priority creditor's name and mailing address       As of the petition filing date, the claim is:                      $313.00    $313.00
         Luke Mulkearns                                     Check all that apply.
         208 Woodland Street                                   Contingent
         Strathmore, VIC 3041 Australia                        Unliquidated
                                                               Disputed

         Date or dates debt was incurred                    Basis for the claim:
         2/2023                                             Deposit Creditor

         Last 4 digits of account number 5144               Is the claim subject to offset?

         Specify Code subsection of PRIORITY                   No
         unsecured claim: 11 U.S.C. § 507(a) (7)
                                                               Yes


2.38     Priority creditor's name and mailing address       As of the petition filing date, the claim is:                     $1,735.13   $1,735.13
         Lyndall Robinson                                   Check all that apply.
         14 Hillcrest Ave., Apt. 2                             Contingent
         Beverly, MA 01915                                     Unliquidated
                                                               Disputed

         Date or dates debt was incurred                    Basis for the claim:
         2/2023                                             Deposit Creditor

         Last 4 digits of account number 5163               Is the claim subject to offset?

         Specify Code subsection of PRIORITY                   No
         unsecured claim: 11 U.S.C. § 507(a) (7)
                                                               Yes




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Debtor      Parlee Cycles, Inc.                                                                      Case number (if known)
            Name

2.39     Priority creditor's name and mailing address       As of the petition filing date, the claim is:                     $4,449.62   $3,350.00
         Mark Elliot                                        Check all that apply.
         22 Skyview Road                                       Contingent
         Lexington, MA 02420                                   Unliquidated
                                                               Disputed

         Date or dates debt was incurred                    Basis for the claim:
         11/2022                                            Deposit Creditor

         Last 4 digits of account number 4763               Is the claim subject to offset?

         Specify Code subsection of PRIORITY                   No
         unsecured claim: 11 U.S.C. § 507(a) (7)
                                                               Yes


2.40     Priority creditor's name and mailing address       As of the petition filing date, the claim is:                      $913.40    $913.40
         Mark Hitz-Hitz Cyclery                             Check all that apply.
         3012 Mahan Court                                      Contingent
         Grapevine, TX 76051                                   Unliquidated
                                                               Disputed

         Date or dates debt was incurred                    Basis for the claim:
         2/2023                                             Deposit Creditor

         Last 4 digits of account number 5143               Is the claim subject to offset?

         Specify Code subsection of PRIORITY                   No
         unsecured claim: 11 U.S.C. § 507(a) (7)
                                                               Yes


2.41     Priority creditor's name and mailing address       As of the petition filing date, the claim is:                      $126.10    $126.10
         Mark Nardone                                       Check all that apply.
         20 Oxford Street                                      Contingent
         Natick, MA 01760                                      Unliquidated
                                                               Disputed

         Date or dates debt was incurred                    Basis for the claim:
         2/2023                                             Deposit Creditor

         Last 4 digits of account number 5138               Is the claim subject to offset?

         Specify Code subsection of PRIORITY                   No
         unsecured claim: 11 U.S.C. § 507(a) (7)
                                                               Yes


2.42     Priority creditor's name and mailing address       As of the petition filing date, the claim is:                       $20.00    $20.00
         Matt Ginsburg                                      Check all that apply.
         229 East 12th Street, Apt. 54                         Contingent
         New York, NY 10003                                    Unliquidated
                                                               Disputed

         Date or dates debt was incurred                    Basis for the claim:
         11/2022                                            Deposit Creditor

         Last 4 digits of account number 4894               Is the claim subject to offset?

         Specify Code subsection of PRIORITY                   No
         unsecured claim: 11 U.S.C. § 507(a) (7)
                                                               Yes




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Debtor      Parlee Cycles, Inc.                                                                      Case number (if known)
            Name

2.43     Priority creditor's name and mailing address       As of the petition filing date, the claim is:                     $318.00   $318.00
         Matthew Babson                                     Check all that apply.
         1 Blackburn Drive                                     Contingent
         Gloucester, MA 01930                                  Unliquidated
                                                               Disputed

         Date or dates debt was incurred                    Basis for the claim:
         2/2023                                             Deposit Creditor

         Last 4 digits of account number 5166               Is the claim subject to offset?

         Specify Code subsection of PRIORITY                   No
         unsecured claim: 11 U.S.C. § 507(a) (7)
                                                               Yes


2.44     Priority creditor's name and mailing address       As of the petition filing date, the claim is:                     $129.00   $129.00
         Matthew Jensen                                     Check all that apply.
         30 Manton Road                                        Contingent
         Swampscott, MA 01907                                  Unliquidated
                                                               Disputed

         Date or dates debt was incurred                    Basis for the claim:
         2/2023                                             Deposit Creditor

         Last 4 digits of account number 5137               Is the claim subject to offset?

         Specify Code subsection of PRIORITY                   No
         unsecured claim: 11 U.S.C. § 507(a) (7)
                                                               Yes


2.45     Priority creditor's name and mailing address       As of the petition filing date, the claim is:                     $308.00   $308.00
         Matthew Springer+G89                               Check all that apply.
         471 Winding River Road                                Contingent
         Hillsborough, NC 27278                                Unliquidated
                                                               Disputed

         Date or dates debt was incurred                    Basis for the claim:
         2/2023                                             Deposit Creditor

         Last 4 digits of account number 5157               Is the claim subject to offset?

         Specify Code subsection of PRIORITY                   No
         unsecured claim: 11 U.S.C. § 507(a) (7)
                                                               Yes


2.46     Priority creditor's name and mailing address       As of the petition filing date, the claim is:                     $233.20   $233.20
         Merrill Hayase                                     Check all that apply.
         32 Alta Cascate Place                                 Contingent
         Henderson, NV 89011                                   Unliquidated
                                                               Disputed

         Date or dates debt was incurred                    Basis for the claim:
         2/2023                                             Deposit Creditor

         Last 4 digits of account number 5134               Is the claim subject to offset?

         Specify Code subsection of PRIORITY                   No
         unsecured claim: 11 U.S.C. § 507(a) (7)
                                                               Yes




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Debtor      Parlee Cycles, Inc.                                                                      Case number (if known)
            Name

2.47     Priority creditor's name and mailing address       As of the petition filing date, the claim is:                      $169.00    $169.00
         Michael Digris                                     Check all that apply.
         31 Cherry Street                                      Contingent
         Wenham, MA 01984                                      Unliquidated
                                                               Disputed

         Date or dates debt was incurred                    Basis for the claim:
         2/2023                                             Deposit Creditor

         Last 4 digits of account number 5133               Is the claim subject to offset?

         Specify Code subsection of PRIORITY                   No
         unsecured claim: 11 U.S.C. § 507(a) (7)
                                                               Yes


2.48     Priority creditor's name and mailing address       As of the petition filing date, the claim is:                     $2,144.27   $2,144.27
         Neil Goldberg                                      Check all that apply.
         c/o Landry's                                          Contingent
         790 Worcester Street                                  Unliquidated
         Natick, MA 01760                                      Disputed

         Date or dates debt was incurred                    Basis for the claim:
         11/2022                                            Deposit Creditor

         Last 4 digits of account number 8436               Is the claim subject to offset?

         Specify Code subsection of PRIORITY                   No
         unsecured claim: 11 U.S.C. § 507(a) (7)
                                                               Yes


2.49     Priority creditor's name and mailing address       As of the petition filing date, the claim is:                      $258.00    $258.00
         Paul Reardon                                       Check all that apply.
         620 Holly Road                                        Contingent
         Marshfield, MA 02050                                  Unliquidated
                                                               Disputed

         Date or dates debt was incurred                    Basis for the claim:
         2/2023                                             Deposit Creditor

         Last 4 digits of account number 5152               Is the claim subject to offset?

         Specify Code subsection of PRIORITY                   No
         unsecured claim: 11 U.S.C. § 507(a) (7)
                                                               Yes


2.50     Priority creditor's name and mailing address       As of the petition filing date, the claim is:                      $139.00    $139.00
         Peter Joson                                        Check all that apply.
         114 N Windy Point                                     Contingent
         Orange, CA 92869                                      Unliquidated
                                                               Disputed

         Date or dates debt was incurred                    Basis for the claim:
         2/2023                                             Deposit Creditor

         Last 4 digits of account number 5140               Is the claim subject to offset?

         Specify Code subsection of PRIORITY                   No
         unsecured claim: 11 U.S.C. § 507(a) (7)
                                                               Yes




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Debtor      Parlee Cycles, Inc.                                                                      Case number (if known)
            Name

2.51     Priority creditor's name and mailing address       As of the petition filing date, the claim is:                     $14,572.56   $3,350.00
         Richard Manders                                    Check all that apply.
         23 Cleveland Street                                   Contingent
         Somerville, MA 02143                                  Unliquidated
                                                               Disputed

         Date or dates debt was incurred                    Basis for the claim:
         12/2022                                            Deposit Creditor

         Last 4 digits of account number 5009               Is the claim subject to offset?

         Specify Code subsection of PRIORITY                   No
         unsecured claim: 11 U.S.C. § 507(a) (7)
                                                               Yes


2.52     Priority creditor's name and mailing address       As of the petition filing date, the claim is:                        $87.40    $87.40
         Russell Elliot                                     Check all that apply.
         22 Skyview Road                                       Contingent
         Lexington, MA 02420                                   Unliquidated
                                                               Disputed

         Date or dates debt was incurred                    Basis for the claim:
         2/2023                                             Deposit Creditor

         Last 4 digits of account number 5131               Is the claim subject to offset?

         Specify Code subsection of PRIORITY                   No
         unsecured claim: 11 U.S.C. § 507(a) (7)
                                                               Yes


2.53     Priority creditor's name and mailing address       As of the petition filing date, the claim is:                      $2,117.00   $2,117.00
         Scott Litwin                                       Check all that apply.
         c/o Jim's Bike Shop                                   Contingent
         8015 Planfield Road                                   Unliquidated
         Cincinnati, OH 45236                                  Disputed

         Date or dates debt was incurred                    Basis for the claim:
         11/2022                                            Deposit Creditor

         Last 4 digits of account number 2629               Is the claim subject to offset?

         Specify Code subsection of PRIORITY                   No
         unsecured claim: 11 U.S.C. § 507(a) (7)
                                                               Yes


2.54     Priority creditor's name and mailing address       As of the petition filing date, the claim is:                       $139.00    $139.00
         Scott Millmit                                      Check all that apply.
         2902 Brownell Avenue                                  Contingent
         Sullivans Island, SC 29482                            Unliquidated
                                                               Disputed

         Date or dates debt was incurred                    Basis for the claim:
         2/2023                                             Deposit Creditor

         Last 4 digits of account number 5142               Is the claim subject to offset?

         Specify Code subsection of PRIORITY                   No
         unsecured claim: 11 U.S.C. § 507(a) (7)
                                                               Yes




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Debtor      Parlee Cycles, Inc.                                                                      Case number (if known)
            Name

2.55     Priority creditor's name and mailing address       As of the petition filing date, the claim is:                      $129.00    $129.00
         Steven Prebble                                     Check all that apply.
         249 Hersey Street                                     Contingent
         Hingham, MA 02043                                     Unliquidated
                                                               Disputed

         Date or dates debt was incurred                    Basis for the claim:
         2/2023                                             Deposit Creditor

         Last 4 digits of account number 5165               Is the claim subject to offset?

         Specify Code subsection of PRIORITY                   No
         unsecured claim: 11 U.S.C. § 507(a) (7)
                                                               Yes


2.56     Priority creditor's name and mailing address       As of the petition filing date, the claim is:                      $149.27    $149.27
         Steven Rossi                                       Check all that apply.
         57 Rodman Lane                                        Contingent
         North Kingstown, RI 02852                             Unliquidated
                                                               Disputed

         Date or dates debt was incurred                    Basis for the claim:
         2/2023                                             Deposit Creditor

         Last 4 digits of account number 5156               Is the claim subject to offset?

         Specify Code subsection of PRIORITY                   No
         unsecured claim: 11 U.S.C. § 507(a) (7)
                                                               Yes


2.57     Priority creditor's name and mailing address       As of the petition filing date, the claim is:                      $169.00    $169.00
         Stuart Parker                                      Check all that apply.
         190 Salem Street                                      Contingent
         Swampscott, MA 01907                                  Unliquidated
                                                               Disputed

         Date or dates debt was incurred                    Basis for the claim:
         2/2023                                             Deposit Creditor

         Last 4 digits of account number 5151               Is the claim subject to offset?

         Specify Code subsection of PRIORITY                   No
         unsecured claim: 11 U.S.C. § 507(a) (7)
                                                               Yes


2.58     Priority creditor's name and mailing address       As of the petition filing date, the claim is:                     $2,896.62   $2,896.62
         Taylor                                             Check all that apply.
         c/o FitWerx VT                                        Contingent
         4312 Man Street                                       Unliquidated
         Waitsfield, VT 05673                                  Disputed

         Date or dates debt was incurred                    Basis for the claim:
         12/21                                              Deposit Creditor

         Last 4 digits of account number 2961               Is the claim subject to offset?

         Specify Code subsection of PRIORITY                   No
         unsecured claim: 11 U.S.C. § 507(a) (7)
                                                               Yes




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Debtor      Parlee Cycles, Inc.                                                                      Case number (if known)
            Name

2.59     Priority creditor's name and mailing address       As of the petition filing date, the claim is:                      $169.00    $169.00
         Thad Beal                                          Check all that apply.
         170 Varick Road                                       Contingent
         Newton, MA 02458                                      Unliquidated
                                                               Disputed

         Date or dates debt was incurred                    Basis for the claim:
         2/2023                                             Deposit Creditor

         Last 4 digits of account number 5159               Is the claim subject to offset?

         Specify Code subsection of PRIORITY                   No
         unsecured claim: 11 U.S.C. § 507(a) (7)
                                                               Yes


2.60     Priority creditor's name and mailing address       As of the petition filing date, the claim is:                     $3,420.07   $3,350.00
         Tom Newberry                                       Check all that apply.
         c/o FitWerx VT                                        Contingent
         4312 Main Street                                      Unliquidated
         Waitsfield, VT 05673                                  Disputed

         Date or dates debt was incurred                    Basis for the claim:
         12/2022                                            Deposit Creditor

         Last 4 digits of account number 5002               Is the claim subject to offset?

         Specify Code subsection of PRIORITY                   No
         unsecured claim: 11 U.S.C. § 507(a) (7)
                                                               Yes


2.61     Priority creditor's name and mailing address       As of the petition filing date, the claim is:                      $344.02    $344.02
         Tom Rodi                                           Check all that apply.
         4 Patriots Landing                                    Contingent
         Essex, MA 01929                                       Unliquidated
                                                               Disputed

         Date or dates debt was incurred                    Basis for the claim:
         2/2023                                             Deposit Creditor

         Last 4 digits of account number 5160               Is the claim subject to offset?

         Specify Code subsection of PRIORITY                   No
         unsecured claim: 11 U.S.C. § 507(a) (7)
                                                               Yes


2.62     Priority creditor's name and mailing address       As of the petition filing date, the claim is:                     $6,699.50   $3,350.00
         Tony Porter                                        Check all that apply.
         c/o Bespoke Cycles                                    Contingent
         2843 Clay Street                                      Unliquidated
         San Francisco, CA 94115                               Disputed

         Date or dates debt was incurred                    Basis for the claim:
         1/2023                                             Deposit Creditor

         Last 4 digits of account number 5044               Is the claim subject to offset?

         Specify Code subsection of PRIORITY                   No
         unsecured claim: 11 U.S.C. § 507(a) (7)
                                                               Yes




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Debtor        Parlee Cycles, Inc.                                                                        Case number (if known)
              Name

2.63       Priority creditor's name and mailing address         As of the petition filing date, the claim is:                                       $1,600.00   $1,600.00
           Victor Gasper                                        Check all that apply.
           34 McDougall Street                                     Contingent
           Kensington, 2033 Sydney Australia                       Unliquidated
                                                                   Disputed

           Date or dates debt was incurred                      Basis for the claim:
           1/2023                                               Deposit Creditor

           Last 4 digits of account number 4891                 Is the claim subject to offset?

           Specify Code subsection of PRIORITY                     No
           unsecured claim: 11 U.S.C. § 507(a) (7)
                                                                   Yes


2.64       Priority creditor's name and mailing address         As of the petition filing date, the claim is:                                       $3,246.50   $3,246.50
           Wendy Gaddy                                          Check all that apply.
           c/o Velsmith                                            Contingent
           801 Ridge Road                                          Unliquidated
           Wilmette, IL 60091                                      Disputed

           Date or dates debt was incurred                      Basis for the claim:
           12/2022                                              Deposit Creditor

           Last 4 digits of account number 4996                 Is the claim subject to offset?

           Specify Code subsection of PRIORITY                     No
           unsecured claim: 11 U.S.C. § 507(a) (7)
                                                                   Yes


2.65       Priority creditor's name and mailing address         As of the petition filing date, the claim is:                                       $4,544.00   $0.00
           Wrench Science (for individual)                      Check all that apply.
           1022 Murray Street                                      Contingent
           Berkeley, CA 94710                                      Unliquidated
                                                                   Disputed

           Date or dates debt was incurred                      Basis for the claim:
           12/2022                                              Business Debt

           Last 4 digits of account number 4972                 Is the claim subject to offset?

           Specify Code subsection of PRIORITY                     No
           unsecured claim: 11 U.S.C. § 507(a) (7)
                                                                   Yes



Part 2:       List All Creditors with NONPRIORITY Unsecured Claims
       3. List in alphabetical order all of the creditors with nonpriority unsecured claims. If the debtor has more than 6 creditors with nonpriority unsecured claims, fill
          out and attach the Additional Page of Part 2.
                                                                                                                                                       Amount of claim

3.1       Nonpriority creditor's name and mailing address                     As of the petition filing date, the claim is: Check all that apply.                 $5,544.82
          Bank of America                                                         Contingent
          P.O. Box 15796                                                          Unliquidated
          Wilmington, DE 19886-5726                                               Disputed
          Date(s) debt was incurred
                                                                              Basis for the claim:     Business Credit Card
          Last 4 digits of account number
                                                                              Is the claim subject to offset?     No       Yes

3.2       Nonpriority creditor's name and mailing address                     As of the petition filing date, the claim is: Check all that apply.                $75,247.28
          BCA                                                                     Contingent
          155 Highway 46 West                                                     Unliquidated
          Fairfield, NJ 07004                                                     Disputed
          Date(s) debt was incurred
                                                                              Basis for the claim:     Business Debt
          Last 4 digits of account number
                                                                              Is the claim subject to offset?     No       Yes



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Debtor      Parlee Cycles, Inc.                                                             Case number (if known)
            Name

3.3      Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.               $15,336.19
         BOC International Inc.                                       Contingent
         21 Drydock Avenue                                            Unliquidated
         Boston, MA 02210                                             Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim:    Business Debt
         Last 4 digits of account number
                                                                   Is the claim subject to offset?     No       Yes

3.4      Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.                $4,574.00
         Bowen Sports Performance (individual)                        Contingent
         225 NE Lafayette Avenue                                      Unliquidated
         Bend, OR 97701                                               Disputed
         Date(s) debt was incurred 2/2023
                                                                   Basis for the claim:    Business Debt
         Last 4 digits of account number
                                                                   Is the claim subject to offset?     No       Yes

3.5      Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.               $10,976.94
         Boyd Cycling                                                 Contingent
         1105 Old Buncombe Road                                       Unliquidated
         Greenville, SC 29617                                         Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim:    Business Debt
         Last 4 digits of account number
                                                                   Is the claim subject to offset?     No       Yes

3.6      Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.                $9,451.25
         Capital One                                                  Contingent
         PO Box 71087                                                 Unliquidated
         Charlotte, NC 28272                                          Disputed
         Date(s) debt was incurred   5448                          Basis for the claim:    Business Credit Card
         Last 4 digits of account number
                                                                   Is the claim subject to offset?     No       Yes

3.7      Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.                $3,956.10
         Capital One                                                  Contingent
         PO Box 71087                                                 Unliquidated
         Charlotte, NC 28272                                          Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim:    Business Credit Card
         Last 4 digits of account number    5932
                                                                   Is the claim subject to offset?     No       Yes

3.8      Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.                $9,980.47
         Chase Card                                                   Contingent
         P.O. Box 15153                                               Unliquidated
         Wilmington, DE 19886                                         Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim:    Business Credit Card
         Last 4 digits of account number
                                                                   Is the claim subject to offset?     No       Yes

3.9      Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.                $5,110.87
         Fed Ex                                                       Contingent
         P.O. Box 371461                                              Unliquidated
         Pittsburgh, PA 15250                                         Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim:    Business Debt
         Last 4 digits of account number
                                                                   Is the claim subject to offset?     No       Yes




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Debtor      Parlee Cycles, Inc.                                                             Case number (if known)
            Name

3.10     Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.                  $506.54
         Full Speed Ahead                                             Contingent
         12212 Cyrus Way                                              Unliquidated
         Mukilteo, WA 98275                                           Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim:    Business Debt
         Last 4 digits of account number
                                                                   Is the claim subject to offset?     No       Yes

3.11     Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.               $46,901.23
         ITG International Transports, Inc.                           Contingent
         6 Kimball Lane                                               Unliquidated
         Lynnfield, MA 01941                                          Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim:    Business Debt
         Last 4 digits of account number
                                                                   Is the claim subject to offset?     No       Yes

3.12     Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.                  $860.17
         McMaster-Carr                                                Contingent
         PO Box 7690                                                  Unliquidated
         Chicago, IL 60680                                            Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim:    Business Debt
         Last 4 digits of account number
                                                                   Is the claim subject to offset?     No       Yes

3.13     Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.                  $900.00
         New England Draw Back Specialists                            Contingent
         7 Vickery Lane                                               Unliquidated
         Rehoboth, MA 02769                                           Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim:    Trade Debt
         Last 4 digits of account number
                                                                   Is the claim subject to offset?     No       Yes

3.14     Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.           $362,149.52
         Panso Composites Co., Ltd                                    Contingent
         Skybox Composites Co., Ltd                                   Unliquidated
         12F No. 150, Jiuru 2nd Rd.                                   Disputed
         Kaohsiung City TW
                                                                   Basis for the claim:    Business Debt
         Date(s) debt was incurred
         Last 4 digits of account number                           Is the claim subject to offset?     No       Yes


3.15     Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.                $1,584.00
         Peak Manufacturing                                           Contingent
         325 Authority Drive                                          Unliquidated
         Fitchburg, MA 01420                                          Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim:    Business Debt
         Last 4 digits of account number
                                                                   Is the claim subject to offset?     No       Yes

3.16     Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.               $14,103.67
         Piermont Bicycle Connection                                  Contingent
         212 Ash Street                                               Unliquidated
         Piermont, NY 10968                                           Disputed
         Date(s) debt was incurred 7/2021
                                                                   Basis for the claim:    Business Debt
         Last 4 digits of account number
                                                                   Is the claim subject to offset?     No       Yes




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            Name

3.17     Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.               $3,719.06
         Rand-Whitney Container LLC                                   Contingent
         PO Box 847459                                                Unliquidated
         Boston, MA 02284                                             Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim:    Business Debt
         Last 4 digits of account number
                                                                   Is the claim subject to offset?     No       Yes

3.18     Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.           $214,327.19
         Shimano American Corp.                                       Contingent
         PO Box 513838                                                Unliquidated
         Los Angeles, CA 90051                                        Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim:    Business Debt
         Last 4 digits of account number
                                                                   Is the claim subject to offset?     No       Yes

3.19     Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.               $6,000.00
         Signature Cycles                                             Contingent
         14 Railroad Avenue                                           Unliquidated
         Greenwich, CT 06830                                          Disputed
         Date(s) debt was incurred 12/2021
                                                                   Basis for the claim:    Business Debt
         Last 4 digits of account number
                                                                   Is the claim subject to offset?     No       Yes

3.20     Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.           $423,313.45
         SRAM, LLC                                                    Contingent
         24213 Newwork Place                                          Unliquidated
         Chicago, IL 60673                                            Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim:    Business Debt
         Last 4 digits of account number   3278
                                                                   Is the claim subject to offset?     No       Yes

3.21     Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.               $4,000.00
         The Bicycle Lab                                              Contingent
         2600 NE 25th Terrace                                         Unliquidated
         Boca Raton, FL 33431                                         Disputed
         Date(s) debt was incurred 11/2017
                                                                   Basis for the claim:    Business Debt
         Last 4 digits of account number
                                                                   Is the claim subject to offset?     No       Yes

3.22     Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.               $2,053.71
         UPS                                                          Contingent
         P.O. Box 7247-0244                                           Unliquidated
         Philadelphia, PA 19170                                       Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim:    Business Debt
         Last 4 digits of account number
                                                                   Is the claim subject to offset?     No       Yes

3.23     Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.                 $855.82
         UPS Supply Chain Solutions, Inc.                             Contingent
         28013 Network Place                                          Unliquidated
         Chicago, IL 60673                                            Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim:    Business Debt
         Last 4 digits of account number
                                                                   Is the claim subject to offset?     No       Yes




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             Name

3.24      Nonpriority creditor's name and mailing address                  As of the petition filing date, the claim is: Check all that apply.                $2,980.00
          Vittoria Industries                                                  Contingent
          1639 West Sheridan Avenue                                            Unliquidated
          Oklahoma City, OK 73106                                              Disputed
          Date(s) debt was incurred
                                                                           Basis for the claim:    Business Debt
          Last 4 digits of account number
                                                                           Is the claim subject to offset?       No     Yes



Part 3:      List Others to Be Notified About Unsecured Claims

4. List in alphabetical order any others who must be notified for claims listed in Parts 1 and 2. Examples of entities that may be listed are collection agencies,
   assignees of claims listed above, and attorneys for unsecured creditors.

  If no others need to be notified for the debts listed in Parts 1 and 2, do not fill out or submit this page. If additional pages are needed, copy the next page.

          Name and mailing address                                                                  On which line in Part1 or Part 2 is the          Last 4 digits of
                                                                                                    related creditor (if any) listed?                account number, if
                                                                                                                                                     any

Part 4:      Total Amounts of the Priority and Nonpriority Unsecured Claims

5. Add the amounts of priority and nonpriority unsecured claims.
                                                                                                                      Total of claim amounts
5a. Total claims from Part 1                                                                           5a.        $                      100,744.69
5b. Total claims from Part 2                                                                           5b.   +    $                    1,224,432.28

5c. Total of Parts 1 and 2
    Lines 5a + 5b = 5c.                                                                                5c.        $                        1,325,176.97




Official Form 206 E/F                                    Schedule E/F: Creditors Who Have Unsecured Claims                                                     Page 21 of 21
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Fill in this information to identify the case:

Debtor name       Parlee Cycles, Inc.

United States Bankruptcy Court for the:     DISTRICT OF MASSACHUSETTS

Case number (if known)
                                                                                                                                   Check if this is an
                                                                                                                                   amended filing


Official Form 206G
Schedule G: Executory Contracts and Unexpired Leases                                                                                               12/15
Be as complete and accurate as possible. If more space is needed, copy and attach the additional page, number the entries consecutively.

1.   Does the debtor have any executory contracts or unexpired leases?
       No. Check this box and file this form with the debtor's other schedules. There is nothing else to report on this form.
          Yes. Fill in all of the information below even if the contacts of leases are listed on Schedule A/B: Assets - Real and Personal          Property
(Official Form 206A/B).

2. List all contracts and unexpired leases                                    State the name and mailing address for all other parties with
                                                                              whom the debtor has an executory contract or unexpired
                                                                              lease

2.1.       State what the contract or            Commercial property
           lease is for and the nature of        lease
           the debtor's interest

               State the term remaining
                                                                                    69 Federal LLC
           List the contract number of any                                          36 Main Street
                 government contract                                                Wenham, MA 01984




Official Form 206G                        Schedule G: Executory Contracts and Unexpired Leases                                                    Page 1 of 1
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Fill in this information to identify the case:

Debtor name      Parlee Cycles, Inc.

United States Bankruptcy Court for the:    DISTRICT OF MASSACHUSETTS

Case number (if known)
                                                                                                                               Check if this is an
                                                                                                                               amended filing


Official Form 206H
Schedule H: Your Codebtors                                                                                                                     12/15

Be as complete and accurate as possible. If more space is needed, copy the Additional Page, numbering the entries consecutively. Attach the
Additional Page to this page.

    1. Do you have any codebtors?

   No. Check this box and submit this form to the court with the debtor's other schedules. Nothing else needs to be reported on this form.
   Yes

  2. In Column 1, list as codebtors all of the people or entities who are also liable for any debts listed by the debtor in the schedules of
     creditors, Schedules D-G. Include all guarantors and co-obligors. In Column 2, identify the creditor to whom the debt is owed and each schedule
     on which the creditor is listed. If the codebtor is liable on a debt to more than one creditor, list each creditor separately in Column 2.
           Column 1: Codebtor                                                                        Column 2: Creditor



          Name                        Mailing Address                                           Name                            Check all schedules
                                                                                                                                that apply:

   2.1    Robert & Isabel             16 Milk Street                                            Bank Gloucester                    D   2.1
          Parlee                      Essex, MA 01929                                                                              E/F
                                                                                                                                   G




   2.2    Robert & Isabel             16 Milk Street                                            Massachusetts                      D   2.3
          Parlee                      Essex, MA 01929                                           Growth Capital Corp.               E/F
                                                                                                                                   G




   2.3    Robert & Isabel             16 Milk Street                                            U.S. Small Business                D   2.4
          Parlee                      Essex, MA 01929                                           Administration                     E/F
                                                                                                                                   G




Official Form 206H                                                    Schedule H: Your Codebtors                                             Page 1 of 1
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Fill in this information to identify the case:

Debtor name         Parlee Cycles, Inc.

United States Bankruptcy Court for the:    DISTRICT OF MASSACHUSETTS

Case number (if known)
                                                                                                                                  Check if this is an
                                                                                                                                  amended filing



Official Form 207
Statement of Financial Affairs for Non-Individuals Filing for Bankruptcy                                                                                04/22
The debtor must answer every question. If more space is needed, attach a separate sheet to this form. On the top of any additional pages,
write the debtor’s name and case number (if known).

Part 1:     Income

1. Gross revenue from business

          None.

      Identify the beginning and ending dates of the debtor’s fiscal year,            Sources of revenue                          Gross revenue
      which may be a calendar year                                                    Check all that apply                        (before deductions and
                                                                                                                                  exclusions)

      From the beginning of the fiscal year to filing date:                               Operating a business                                 $91,138.00
      From 1/01/2023 to Filing Date                                                                Gross Sales -January
                                                                                          Other    2023


      For prior year:                                                                     Operating a business                             $3,628,524.00
      From 1/01/2022 to 12/31/2022
                                                                                          Other    Gross Sales


      For year before that:                                                               Operating a business                             $4,738,470.00
      From 1/01/2021 to 12/31/2021
                                                                                          Other    Gross Sales

2. Non-business revenue
   Include revenue regardless of whether that revenue is taxable. Non-business income may include interest, dividends, money collected from lawsuits,
   and royalties. List each source and the gross revenue for each separately. Do not include revenue listed in line 1.

          None.

                                                                                      Description of sources of revenue           Gross revenue from
                                                                                                                                  each source
                                                                                                                                  (before deductions and
                                                                                                                                  exclusions)

Part 2:     List Certain Transfers Made Before Filing for Bankruptcy

3. Certain payments or transfers to creditors within 90 days before filing this case
   List payments or transfers--including expense reimbursements--to any creditor, other than regular employee compensation, within 90 days before
   filing this case unless the aggregate value of all property transferred to that creditor is less than $7,575. (This amount may be adjusted on 4/01/25
   and every 3 years after that with respect to cases filed on or after the date of adjustment.)

          None.

      Creditor's Name and Address                                 Dates                 Total amount of value         Reasons for payment or transfer
                                                                                                                      Check all that apply




Official Form 207                          Statement of Financial Affairs for Non-Individuals Filing for Bankruptcy                                     page 1
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Debtor       Parlee Cycles, Inc.                                                                Case number (if known)



      Creditor's Name and Address                                  Dates                 Total amount of value           Reasons for payment or transfer
                                                                                                                         Check all that apply
      3.1.
              Small Business Administration                        Monthly                          $30,000.00                Secured debt
              265 O'Neill Federal Building                                                                                    Unsecured loan repayments
              10 Causeway Street
                                                                                                                              Suppliers or vendors
              Boston, MA 02222
                                                                                                                              Services
                                                                                                                              Other


      3.2.
              See Attached List                                                                            $0.00              Secured debt
                                                                                                                              Unsecured loan repayments
                                                                                                                              Suppliers or vendors
                                                                                                                              Services
                                                                                                                              Other



4. Payments or other transfers of property made within 1 year before filing this case that benefited any insider
   List payments or transfers, including expense reimbursements, made within 1 year before filing this case on debts owed to an insider or guaranteed
   or cosigned by an insider unless the aggregate value of all property transferred to or for the benefit of the insider is less than $7,575. (This amount
   may be adjusted on 4/01/25 and every 3 years after that with respect to cases filed on or after the date of adjustment.) Do not include any payments
   listed in line 3. Insiders include officers, directors, and anyone in control of a corporate debtor and their relatives; general partners of a partnership
   debtor and their relatives; affiliates of the debtor and insiders of such affiliates; and any managing agent of the debtor. 11 U.S.C. § 101(31).

          None.

      Insider's name and address                                   Dates                 Total amount of value           Reasons for payment or transfer
      Relationship to debtor
      4.1.    See Attached List                                                                            $0.00


5. Repossessions, foreclosures, and returns
   List all property of the debtor that was obtained by a creditor within 1 year before filing this case, including property repossessed by a creditor, sold at
   a foreclosure sale, transferred by a deed in lieu of foreclosure, or returned to the seller. Do not include property listed in line 6.

          None

      Creditor's name and address                      Describe of the Property                                        Date                    Value of property


6. Setoffs
   List any creditor, including a bank or financial institution, that within 90 days before filing this case set off or otherwise took anything from an account
   of the debtor without permission or refused to make a payment at the debtor’s direction from an account of the debtor because the debtor owed a
   debt.

          None

      Creditor's name and address                      Description of the action creditor took                         Date action was                  Amount
                                                                                                                       taken

Part 3:      Legal Actions or Assignments

7. Legal actions, administrative proceedings, court actions, executions, attachments, or governmental audits
   List the legal actions, proceedings, investigations, arbitrations, mediations, and audits by federal or state agencies in which the debtor was involved
   in any capacity—within 1 year before filing this case.

          None.

              Case title                               Nature of case              Court or agency's name and                  Status of case
              Case number                                                          address
      7.1.    Federal Tax audit of 2019 tax                                                                                        Pending
              filng resulting in payment of                                                                                        On appeal
              $11,143.26.
                                                                                                                                   Concluded



Official Form 207                           Statement of Financial Affairs for Non-Individuals Filing for Bankruptcy                                       page 2
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Debtor        Parlee Cycles, Inc.                                                                Case number (if known)



8. Assignments and receivership
   List any property in the hands of an assignee for the benefit of creditors during the 120 days before filing this case and any property in the hands of a
   receiver, custodian, or other court-appointed officer within 1 year before filing this case.

          None


Part 4:       Certain Gifts and Charitable Contributions

9. List all gifts or charitable contributions the debtor gave to a recipient within 2 years before filing this case unless the aggregate value of
   the gifts to that recipient is less than $1,000

          None

               Recipient's name and address           Description of the gifts or contributions                  Dates given                         Value

      9.1.     International Rescue                   Monetary donation to support families in
               Committee                              Ukraine
               122 East 42nd Street
               New York, NY 10168                                                                                5/20/22                       $3,391.52

               Recipients relationship to debtor
               None


Part 5:       Certain Losses

10. All losses from fire, theft, or other casualty within 1 year before filing this case.

          None

      Description of the property lost and            Amount of payments received for the loss                   Dates of loss          Value of property
      how the loss occurred                                                                                                                          lost
                                                      If you have received payments to cover the loss, for
                                                      example, from insurance, government compensation, or
                                                      tort liability, list the total received.

                                                      List unpaid claims on Official Form 106A/B (Schedule
                                                      A/B: Assets – Real and Personal Property).

Part 6:       Certain Payments or Transfers

11. Payments related to bankruptcy
    List any payments of money or other transfers of property made by the debtor or person acting on behalf of the debtor within 1 year before the filing
    of this case to another person or entity, including attorneys, that the debtor consulted about debt consolidation or restructuring, seeking bankruptcy
    relief, or filing a bankruptcy case.

          None.

                Who was paid or who received             If not money, describe any property transferred               Dates              Total amount or
                the transfer?                                                                                                                      value
                Address
      11.1.     Madoff & Khoury LLP
                124 Washington Street, Suite
                202
                Foxborough, MA 02035                     Attorney Fees                                                                        $25,000.00

                Email or website address
                alston@mandkllp.com

                Who made the payment, if not debtor?




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Debtor        Parlee Cycles, Inc.                                                                Case number (if known)



                Who was paid or who received              If not money, describe any property transferred               Dates               Total amount or
                the transfer?                                                                                                                        value
                Address
      11.2.     United States Bankruptcy
                Court
                                                          Filing Fee                                                                              $1,738.00

                Email or website address


                Who made the payment, if not debtor?




12. Self-settled trusts of which the debtor is a beneficiary
    List any payments or transfers of property made by the debtor or a person acting on behalf of the debtor within 10 years before the filing of this case
    to a self-settled trust or similar device.
    Do not include transfers already listed on this statement.

          None.

      Name of trust or device                             Describe any property transferred                    Dates transfers              Total amount or
                                                                                                               were made                             value

13. Transfers not already listed on this statement
    List any transfers of money or other property by sale, trade, or any other means made by the debtor or a person acting on behalf of the debtor within
    2 years before the filing of this case to another person, other than property transferred in the ordinary course of business or financial affairs. Include
    both outright transfers and transfers made as security. Do not include gifts or transfers previously listed on this statement.

          None.

               Who received transfer?                  Description of property transferred or                     Date transfer             Total amount or
               Address                                 payments received or debts paid in exchange                was made                           value

 Part 7:      Previous Locations

14. Previous addresses
    List all previous addresses used by the debtor within 3 years before filing this case and the dates the addresses were used.


          Does not apply

                Address                                                                                             Dates of occupancy
                                                                                                                    From-To

Part 8:       Health Care Bankruptcies

15. Health Care bankruptcies
    Is the debtor primarily engaged in offering services and facilities for:
    - diagnosing or treating injury, deformity, or disease, or
    - providing any surgical, psychiatric, drug treatment, or obstetric care?

           No. Go to Part 9.
           Yes. Fill in the information below.


                Facility name and address              Nature of the business operation, including type of services               If debtor provides meals
                                                       the debtor provides                                                        and housing, number of
                                                                                                                                  patients in debtor’s care

Part 9:       Personally Identifiable Information

16. Does the debtor collect and retain personally identifiable information of customers?

           No.
           Yes. State the nature of the information collected and retained.

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17. Within 6 years before filing this case, have any employees of the debtor been participants in any ERISA, 401(k), 403(b), or other pension or
    profit-sharing plan made available by the debtor as an employee benefit?

           No. Go to Part 10.
           Yes. Does the debtor serve as plan administrator?


Part 10:    Certain Financial Accounts, Safe Deposit Boxes, and Storage Units

18. Closed financial accounts
    Within 1 year before filing this case, were any financial accounts or instruments held in the debtor’s name, or for the debtor’s benefit, closed, sold,
    moved, or transferred?
    Include checking, savings, money market, or other financial accounts; certificates of deposit; and shares in banks, credit unions, brokerage houses,
    cooperatives, associations, and other financial institutions.

         None
             Financial Institution name and             Last 4 digits of           Type of account or          Date account was                  Last balance
             Address                                    account number             instrument                  closed, sold,                 before closing or
                                                                                                               moved, or                              transfer
                                                                                                               transferred

19. Safe deposit boxes
    List any safe deposit box or other depository for securities, cash, or other valuables the debtor now has or did have within 1 year before filing this
    case.


         None

      Depository institution name and address                Names of anyone with                  Description of the contents                 Does debtor
                                                             access to it                                                                      still have it?
                                                             Address

20. Off-premises storage
    List any property kept in storage units or warehouses within 1 year before filing this case. Do not include facilities that are in a part of a building in
    which the debtor does business.


         None

      Facility name and address                              Names of anyone with                  Description of the contents                 Does debtor
                                                             access to it                                                                      still have it?


Part 11:    Property the Debtor Holds or Controls That the Debtor Does Not Own

21. Property held for another
    List any property that the debtor holds or controls that another entity owns. Include any property borrowed from, being stored for, or held in trust. Do
    not list leased or rented property.

       None


Part 12:    Details About Environment Information

For the purpose of Part 12, the following definitions apply:
     Environmental law means any statute or governmental regulation that concerns pollution, contamination, or hazardous material, regardless of the
     medium affected (air, land, water, or any other medium).

     Site means any location, facility, or property, including disposal sites, that the debtor now owns, operates, or utilizes or that the debtor formerly
     owned, operated, or utilized.

     Hazardous material means anything that an environmental law defines as hazardous or toxic, or describes as a pollutant, contaminant, or a
     similarly harmful substance.

Report all notices, releases, and proceedings known, regardless of when they occurred.

22. Has the debtor been a party in any judicial or administrative proceeding under any environmental law? Include settlements and orders.

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           No.
           Yes. Provide details below.

      Case title                                            Court or agency name and              Nature of the case                            Status of case
      Case number                                           address

23. Has any governmental unit otherwise notified the debtor that the debtor may be liable or potentially liable under or in violation of an
    environmental law?

           No.
           Yes. Provide details below.

      Site name and address                                 Governmental unit name and                Environmental law, if known               Date of notice
                                                            address

24. Has the debtor notified any governmental unit of any release of hazardous material?

           No.
           Yes. Provide details below.

      Site name and address                                 Governmental unit name and                Environmental law, if known               Date of notice
                                                            address

Part 13:    Details About the Debtor's Business or Connections to Any Business

25. Other businesses in which the debtor has or has had an interest
    List any business for which the debtor was an owner, partner, member, or otherwise a person in control within 6 years before filing this case.
    Include this information even if already listed in the Schedules.

         None

   Business name address                             Describe the nature of the business               Employer Identification number
                                                                                                       Do not include Social Security number or ITIN.

                                                                                                       Dates business existed

26. Books, records, and financial statements
    26a. List all accountants and bookkeepers who maintained the debtor’s books and records within 2 years before filing this case.
             None

      Name and address                                                                                                                 Date of service
                                                                                                                                       From-To
      26a.1.        James J. Mocera CPA                                                                                                9/20/17
                    LCW CPA
                    303 Canal Street, Suite 200
                    Lawrence, MA 01840
      26a.2.        Ilene Krivelow
                    controller/bookkeeper for Parlee Cycles


    26b. List all firms or individuals who have audited, compiled, or reviewed debtor’s books of account and records or prepared a financial statement
         within 2 years before filing this case.

             None


    26c. List all firms or individuals who were in possession of the debtor’s books of account and records when this case is filed.

             None

      Name and address                                                                               If any books of account and records are
                                                                                                     unavailable, explain why

    26d. List all financial institutions, creditors, and other parties, including mercantile and trade agencies, to whom the debtor issued a financial
         statement within 2 years before filing this case.
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             None

      Name and address
      26d.1.        Bank Gloucester
                    160 Main Street
                    Gloucester, MA 01930
      26d.2.        Massachusetts Growth Capital Corporation
                    529 Main Street
                    Boston, MA 02129

27. Inventories
    Have any inventories of the debtor’s property been taken within 2 years before filing this case?

           No
           Yes. Give the details about the two most recent inventories.

               Name of the person who supervised the taking of the                 Date of inventory        The dollar amount and basis (cost, market,
               inventory                                                                                    or other basis) of each inventory
      27.1 Ben Schwabe, Warehouse Manager
      .                                                                            12/31/22                 $2,096,371.62

               Name and address of the person who has possession of
               inventory records
               Parlee Cycles
               69 Federal Street
               Essex, MA 01929


      27.2 Ilene Krivelow, Controller
      .                                                                            12/31/21                 $1,235,823.17

               Name and address of the person who has possession of
               inventory records
               Parlee Cycles
               69 Federal Street
               Essex, MA 01929


28. List the debtor’s officers, directors, managing members, general partners, members in control, controlling shareholders, or other people
    in control of the debtor at the time of the filing of this case.

      Name                                   Address                                             Position and nature of any              % of interest, if
                                                                                                 interest                                any
      Robert K. Parlee                       16A Milk Street                                     Sole Officer and Director
                                             Essex, MA 01929



29. Within 1 year before the filing of this case, did the debtor have officers, directors, managing members, general partners, members in
    control of the debtor, or shareholders in control of the debtor who no longer hold these positions?


           No
           Yes. Identify below.


30. Payments, distributions, or withdrawals credited or given to insiders
    Within 1 year before filing this case, did the debtor provide an insider with value in any form, including salary, other compensation, draws, bonuses,
    loans, credits on loans, stock redemptions, and options exercised?

           No
           Yes. Identify below.

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Debtor      Parlee Cycles, Inc.                                                                 Case number (if known)




             Name and address of recipient             Amount of money or description and value of               Dates             Reason for
                                                       property                                                                    providing the value
      30.1 See Attached to Question 4
      .

             Relationship to debtor




31. Within 6 years before filing this case, has the debtor been a member of any consolidated group for tax purposes?

           No
           Yes. Identify below.

   Name of the parent corporation                                                                      Employer Identification number of the parent
                                                                                                       corporation

32. Within 6 years before filing this case, has the debtor as an employer been responsible for contributing to a pension fund?

           No
           Yes. Identify below.

   Name of the pension fund                                                                            Employer Identification number of the pension
                                                                                                       fund

Part 14:    Signature and Declaration

     WARNING -- Bankruptcy fraud is a serious crime. Making a false statement, concealing property, or obtaining money or property by fraud in
     connection with a bankruptcy case can result in fines up to $500,000 or imprisonment for up to 20 years, or both.
     18 U.S.C. §§ 152, 1341, 1519, and 3571.

     I have examined the information in this Statement of Financial Affairs and any attachments and have a reasonable belief that the information is true
     and correct.

     I declare under penalty of perjury that the foregoing is true and correct.

Executed on         February 6, 2023

/s/ Robert K. Parlee                                            Robert K. Parlee
Signature of individual signing on behalf of the debtor         Printed name

Position or relationship to debtor    President

Are additional pages to Statement of Financial Affairs for Non-Individuals Filing for Bankruptcy (Official Form 207) attached?
  No
   Yes




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Payments 11/1/22 - 2/4/23
Posting Date Doc. No. Offset Acct Name                                        Deb./Cred. (LC)

  12/16/2022   PS 11827   ACT Lab LLC                                                -1,039.60
   1/13/2023   PS 11936   ACT Lab LLC                                                  -510.00
    2/4/2023   PS 12037   Airgas USA, LLC                                              -123.53
   11/4/2022   PS 11692   Andre Lu                                                     -750.00
   12/2/2022   PS 11792   Andre Lu                                                     -750.00
    1/6/2023   PS 11911   Andre Lu                                                     -750.00
    2/4/2023   PS 12049   Andre Lu                                                     -750.00
  12/16/2022   PS 11828   Arundel Bicycle Company LP                                 -2,680.00
  11/28/2022   PS 11759   Bank Gloucester                                           -10,868.31
  12/27/2022   PS 11868   Bank Gloucester                                            -5,839.72
   1/27/2023   PS 12011   Bank Gloucester                                            -6,179.83
  11/30/2022   PS 11762   Bank of America - #8224                                      -500.00
    1/2/2023   PS 11893   Bank of America - #8224                                      -500.00
   1/13/2023   PS 11951   Bank of America - #8224                                    -1,217.23
   11/4/2022   PS 11680   BCA                                                        -1,750.00
  11/11/2022   PS 11708   BCA                                                        -1,750.00
  11/25/2022   PS 11731   Beneficial Equipment Finance Corp/NewLane Finance          -1,129.43
  12/25/2022   PS 11843   Beneficial Equipment Finance Corp/NewLane Finance          -1,129.43
   1/25/2023   PS 11955   Beneficial Equipment Finance Corp/NewLane Finance          -1,129.43
   12/2/2022   PS 11781   Benjamin Corbalis                                            -812.22
  12/16/2022   PS 11817   Benjamin Corbalis                                            -785.20
   1/27/2023   PS 12014   Benjamin Corbalis                                            -807.40
    2/4/2023   PS 12045   Benjamin Corbalis                                            -627.00
   1/27/2023   PS 12032   Benjamin Schwabe                                           -1,033.74
  12/28/2022   PS 11905   Bevato International Corp.                                   -560.00
   11/7/2022   PS 11697   BOC International Inc.                                    -12,152.80
   12/2/2022   PS 11791   BOC International Inc.                                     -6,238.16
  12/19/2022   PS 11833   BOC International Inc.                                    -10,798.24
   11/4/2022   PS 11681   Boston IT, Inc.                                              -915.00
   12/2/2022   PS 11780   Boston IT, Inc.                                              -915.00
  12/16/2022   PS 11820   Boston IT, Inc.                                              -915.00
   1/27/2023   PS 12015   Boston IT, Inc.                                              -915.00
  11/16/2022   PS 11732   Capital One #5448                                          -1,000.00
  11/29/2022   PS 11766   Capital One #5448                                          -1,000.00
   12/9/2022   PS 11801   Capital One #5448                                            -500.00
    1/6/2023   PS 11910   Capital One #5448                                            -569.79
   1/13/2023   PS 11942   Capital One #5448                                            -564.92
   1/23/2023   PS 12002   Capital One #5448                                            -500.00
    2/1/2023   PS 12029   Capital One #5448                                            -500.00
   12/6/2022   PS 11795   Capital One Visa-#5932                                       -500.00
  12/20/2022   PS 11851   Capital One Visa-#5932                                       -500.00
   1/13/2023   PS 11944   Capital One Visa-#5932                                       -963.91
   11/4/2022   PS 11682   Casella                                                      -563.85
  12/16/2022   PS 11821   Casella                                                      -574.59
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  1/6/2023   PS 11906    Casella                                                   -589.06
  2/3/2023   PS 12039    Casella                                                   -657.75
12/20/2022   PS 11850    Chase VISA - # 3835                                       -500.00
 1/13/2023   PS 11943    Chase VISA - # 3835                                       -457.81
 11/4/2022   PS 11683    Comcast                                                   -197.77
 12/2/2022   PS 11798    Comcast                                                   -197.77
  1/6/2023   PS 11917    Comcast                                                   -197.77
 1/27/2023   PS 12016    Comcast                                                   -204.33
12/19/2022   PS 11829    Comm. of Mass.                                            -350.00
 12/2/2022   PS 11790    David M Howe                                              -481.33
12/19/2022   PS 11835    David M Howe                                              -170.45
 1/27/2023   PS 12019    David M Howe                                              -512.40
  2/4/2023   PS 12047    David M Howe                                               -14.50
11/23/2022   PS 11754    Department of Homeland Security                        -10,348.41
11/23/2022   PS 11755    Department of Homeland Security                         -3,334.68
12/22/2022   PS 11853    Department of Homeland Security                        -10,220.81
 1/25/2023   PS 12008    Department of Homeland Security                        -14,540.36
 12/2/2022   PS 11785    Dinosports LLC                                          -1,214.73
12/16/2022   PS 11819    Dinosports LLC                                            -580.57
 1/27/2023   PS 12013    Dinosports LLC                                            -178.15
  2/3/2023   PS 12044    Dinosports LLC                                             -51.75
12/19/2022   PS 11832    Dongguan Wei Sheng Packing                              -1,110.00
11/22/2022   JE 124786   Ek Xiamen Composite Tech                                -2,749.00
 1/13/2023   PS 11947    Ek Xiamen Composite Tech                                -2,012.56
 11/4/2022   PS 11693    Ergon Bike Ergonomics                                   -3,519.00
 11/2/2022   PS 11668    Excel Cleaning Ent. Inc.                                  -125.00
 11/9/2022   PS 11702    Excel Cleaning Ent. Inc.                                  -125.00
11/16/2022   PS 11706    Excel Cleaning Ent. Inc.                                  -125.00
11/22/2022   PS 11748    Excel Cleaning Ent. Inc.                                  -125.00
11/30/2022   PS 11760    Excel Cleaning Ent. Inc.                                  -125.00
 12/7/2022   PS 11793    Excel Cleaning Ent. Inc.                                  -125.00
12/21/2022   PS 11814    Excel Cleaning Ent. Inc.                                  -250.00
12/27/2022   PS 11870    Excel Cleaning Ent. Inc.                                  -125.00
  1/4/2023   PS 11892    Excel Cleaning Ent. Inc.                                  -125.00
 1/11/2023   PS 11918    Excel Cleaning Ent. Inc.                                  -125.00
 1/18/2023   PS 11952    Excel Cleaning Ent. Inc.                                  -125.00
 1/25/2023   PS 11999    Excel Cleaning Ent. Inc.                                  -125.00
  2/1/2023   PS 12023    Excel Cleaning Ent. Inc.                                  -125.00
11/18/2022   PS 11753    Express Funds (Transmodus)                                 -40.95
 12/6/2022   PS 11797    Express Funds (Transmodus)                                 -60.22
  1/9/2023   PS 11920    Express Funds (Transmodus)                                 -41.15
 11/3/2022   JE 124075   Federal Withholding                                     -9,526.94
11/17/2022   JE 124590   Federal Withholding                                    -11,272.34
 12/1/2022   JE 125000   Federal Withholding                                     -9,257.06
12/15/2022   JE 125588   Federal Withholding                                     -9,784.72
12/29/2022   JE 126197   Federal Withholding                                     -8,927.52
 1/12/2023   JE 126715   Federal Withholding                                    -10,643.60
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 1/26/2023   JE 127138   Federal Withholding                                     -9,577.43
 11/4/2022   PS 11690    FedEx                                                   -1,010.28
11/14/2022   PS 11715    FedEx                                                     -667.69
 12/2/2022   PS 11787    FedEx                                                   -3,259.92
12/19/2022   PS 11838    FedEx                                                   -6,223.08
12/23/2022   PS 11865    FedEx                                                   -6,280.90
  1/6/2023   PS 11914    FedEx                                                   -1,983.33
 1/13/2023   PS 11948    FedEx                                                   -3,760.13
11/11/2022   PS 11709    Fellers                                                   -115.72
  1/6/2023   PS 11907    Fellers                                                   -123.10
 1/13/2023   PS 11937    Fellers                                                   -115.72
 11/4/2022   PS 11684    FinishMaster                                            -1,584.98
11/11/2022   PS 11710    FinishMaster                                              -519.39
12/23/2022   PS 11861    FinishMaster                                            -1,387.98
  1/6/2023   PS 11908    FinishMaster                                            -1,602.67
  1/9/2023   PS 11919    FinishMaster                                            -3,171.06
 1/13/2023   PS 11945    FinishMaster                                            -1,780.71
  2/3/2023   PS 12040    FinishMaster                                            -3,822.99
11/16/2022   PS 11728    First Insurance Funding Corp.                           -3,427.16
12/19/2022   PS 11840    First Insurance Funding Corp.                           -3,427.16
 1/13/2023   PS 11949    First Insurance Funding Corp.                           -3,427.16
  1/6/2023   PS 11904    Fulchee Ent Co. Ltd                                     -1,872.00
 12/1/2022   PS 11776    GRAT Co., LTD.                                             -94.62
 11/4/2022   PS 11685    Harvard Financial Management                            -2,500.00
12/23/2022   PS 11860    Harvard Financial Management                            -2,500.00
 1/13/2023   PS 11946    Harvard Financial Management                            -2,500.00
  2/3/2023   PS 12042    Harvard Financial Management                            -2,500.00
11/28/2022   PS 11761    HSA Insurance                                           -3,445.88
12/19/2022   PS 11841    HSA Insurance                                           -3,450.88
 1/20/2023   PS 11998    HSA Insurance                                           -3,450.88
 11/4/2022   PS 11694    Hunter Daniel Kelley                                    -4,106.25
 12/2/2022   PS 11789    Hunter Daniel Kelley                                    -3,600.00
12/23/2022   PS 11858    Hunter Daniel Kelley                                    -4,012.50
  1/6/2023   PS 11912    Hunter Daniel Kelley                                    -3,787.50
 1/27/2023   PS 12018    Hunter Daniel Kelley                                    -3,450.00
  2/4/2023   PS 12050    Hunter Daniel Kelley                                    -3,487.50
 12/2/2022   PS 11783    Ilene Krivelow                                             -76.00
 1/13/2023   PS 11938    Ilene Krivelow                                             -75.00
 1/20/2023   PS 11995    Ilene Krivelow                                            -489.50
 1/23/2023   PS 12000    Ilene Krivelow                                             -75.00
 1/20/2023   PS 11996    Isabel Parlee                                             -489.50
 1/27/2023   PS 12033    James Vincent Jr                                        -1,097.31
 12/2/2022   PS 11788    Kim Roberts                                             -1,900.99
12/19/2022   PS 11834    Kim Roberts                                             -3,050.38
12/16/2022   PS 11815    Lyndall Robinson                                           -39.00
12/16/2022   PS 11831    Madoff & Khoury LLP                                     -5,000.00
 11/1/2022   PS 11672    Massachusetts Growth Capital Corporation                -4,821.80
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 12/2/2022   PS 11778    Massachusetts Growth Capital Corporation                -4,775.30
  2/3/2023   PS 12036    Massachusetts Growth Capital Corporation                  -737.56
 11/4/2022   PS 11691    MASSDOT                                                   -160.00
 11/4/2022   PS 11686    McMaster - Carr                                           -444.54
12/23/2022   PS 11859    McMaster - Carr                                           -589.85
  1/6/2023   PS 11909    McMaster - Carr                                           -655.89
12/16/2022   PS 11826    Moynihan Lumber                                           -208.40
  2/3/2023   PS 12041    Moynihan Lumber                                           -114.97
11/11/2022   PS 11711    N'ware Technologies, Inc                                  -405.60
12/16/2022   PS 11816    National Grid                                             -131.98
12/23/2022   PS 11864    National Grid                                             -847.56
 1/27/2023   PS 12017    National Grid                                           -1,433.01
 11/4/2022   PS 11689    National Grid - Electric                                -1,532.64
12/19/2022   PS 11842    National Grid - Electric                                -1,693.71
  1/6/2023   PS 11915    National Grid - Electric                                -2,956.45
 1/10/2023   PS 11922    New England Drawback Specialists, Inc                     -600.00
 11/4/2022   PS 11695    Nusa Design Studio                                      -3,715.00
  2/4/2023   PS 12048    Nusa Design Studio                                        -675.00
12/15/2022   PS 11813    Paragon Machine Works                                     -260.64
 11/3/2022   JE 124077   Parlee Cycles Direct Sale                                  240.00
11/17/2022   JE 124592   Parlee Cycles Direct Sale                                  280.47
 12/1/2022   JE 125002   Parlee Cycles Direct Sale                                  219.05
12/15/2022   JE 125590   Parlee Cycles Direct Sale                                  214.52
12/29/2022   JE 126199   Parlee Cycles Direct Sale                                   30.24
 1/12/2023   JE 126717   Parlee Cycles Direct Sale                                  138.38
11/14/2022   PS 11707    Patrick Clapp                                              -27.63
 1/27/2023   PS 12031    Patrick Clapp                                             -663.80
 11/2/2022   PS 11678    Pay Trace                                               -4,210.85
 12/2/2022   PS 11777    Pay Trace                                               -2,792.03
  1/3/2023   PS 11895    Pay Trace                                               -4,806.66
  2/2/2023   PS 12026    Pay Trace                                               -2,263.86
 11/3/2022   JE 124076   Payroll Processing Fee                                    -193.52
 11/3/2022   JE 125758   Payroll Processing Fee                                     -25.00
11/17/2022   JE 124591   Payroll Processing Fee                                    -193.52
 12/1/2022   JE 125001   Payroll Processing Fee                                    -193.52
12/15/2022   JE 125589   Payroll Processing Fee                                    -104.53
12/29/2022   JE 126198   Payroll Processing Fee                                    -104.53
 1/12/2023   JE 126716   Payroll Processing Fee                                    -416.43
 1/26/2023   JE 127139   Payroll Processing Fee                                    -104.53
11/11/2022   PS 11712    Pittsburgh Logistics Systems, Inc.                        -378.00
12/30/2022   PS 11891    Pittsburgh Logistics Systems, Inc.                      -1,300.00
 11/3/2022   JE 124074   Production Payroll - Paint                                -234.00
 11/3/2022   JE 124074   Production Payroll - Paint                             -26,521.77
11/17/2022   JE 124589   Production Payroll - Paint                                -234.00
11/17/2022   JE 124589   Production Payroll - Paint                             -30,446.89
 12/1/2022   JE 124999   Production Payroll - Paint                                -117.00
 12/1/2022   JE 124999   Production Payroll - Paint                             -26,195.08
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12/15/2022   JE 125587   Production Payroll - Paint                              -27,361.57
12/29/2022   JE 126196   Production Payroll - Paint                              -25,433.95
 1/12/2023   JE 126714   Production Payroll - Paint                              -28,330.35
 1/26/2023   JE 127137   Production Payroll - Paint                              -25,912.73
 11/9/2022   PS 11726    Protective Life Insurance Company                           -61.43
 12/7/2022   PS 11794    Protective Life Insurance Company                           -61.43
  1/9/2023   PS 11929    Protective Life Insurance Company                           -61.43
 12/2/2022   PS 11784    Robert Parlee                                              -215.00
 1/13/2023   PS 11939    Robert Parlee                                              -215.00
 1/20/2023   PS 11997    Robert Parlee                                              -489.50
 1/23/2023   PS 12001    Robert Parlee                                              -244.02
11/15/2022   PS 11734    Roger Menard                                               -235.00
12/22/2022   PS 11855    Sales Tax Payable                                           -55.38
11/14/2022   PS 11717    Santin Development Group                                -12,046.27
12/16/2022   PS 11830    Santin Development Group                                 -6,705.62
  1/6/2023   PS 11913    Santin Development Group                                 -6,705.62
  2/3/2023   PS 12035    Santin Development Group                                -11,370.54
 12/2/2022   JE 125077   Shimano American Corporation                             -1,301.63
 11/4/2022   PS 11696    Skybox Composites Co., Ltd.                              -3,534.96
11/21/2022   PS 11751    Skybox Composites Co., Ltd.                             -59,010.21
11/14/2022   PS 11719    SRAM LLC                                                -39,082.71
11/21/2022   PS 11752    SRAM LLC                                                -10,938.13
12/16/2022   PS 11822    Staples                                                    -131.95
12/16/2022   PS 11823    Staples                                                     -61.61
 1/27/2023   PS 12034    Steve J Thomas                                           -4,276.19
  2/4/2023   PS 12038    Stonybrook Water Company                                   -168.94
11/16/2022   PS 11747    The Hartford                                             -1,231.75
12/19/2022   PS 11839    The Hartford                                             -1,269.75
 1/13/2023   PS 11950    The Hartford                                             -1,269.75
 12/6/2022   PS 11796    Toray Composites                                         -2,235.14
 1/10/2023   PS 11921    Toray Composites                                         -4,081.22
11/14/2022   PS 11718    U.S. Small Business Administration                       -9,835.00
 11/4/2022   PS 11687    Uline                                                      -310.50
12/16/2022   PS 11824    Uline                                                      -245.50
 1/13/2023   PS 11940    Uline                                                      -369.50
 11/4/2022   PS 11688    UPS                                                         -57.76
11/14/2022   PS 11716    UPS                                                        -184.36
 12/2/2022   PS 11786    UPS                                                      -2,463.31
12/19/2022   PS 11836    UPS                                                      -2,565.15
12/23/2022   PS 11862    UPS                                                        -645.81
  1/6/2023   PS 11916    UPS                                                         -59.87
 1/13/2023   PS 11941    UPS                                                      -1,778.04
12/19/2022   PS 11837    UPS Supply Chain Solutions, Inc.-IL                      -1,204.67
12/23/2022   PS 11863    UPS Supply Chain Solutions, Inc.-IL                        -419.66
  2/4/2023   PS 12046    Velotech Services Ltd                                      -389.86
11/23/2022   PS 11756    Verizon Wireless                                           -225.53
12/23/2022   PS 11867    Verizon Wireless                                           -236.43
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 1/25/2023   PS 12009    Verizon Wireless                                           -225.53
12/16/2022   PS 11825    W.B. Mason                                                  -82.85
 12/2/2022   PS 11782    William G Davis                                            -654.66
12/16/2022   PS 11818    William G Davis                                            -244.55
 1/27/2023   PS 12012    William G Davis                                              -1.75
  2/3/2023   PS 12043    William G Davis                                            -162.45
11/30/2022   JE 125741   Wire/Intuit Fees - In/Out                                   -44.01
12/30/2022   PS 11872    Workswell Bikes                                          -6,420.00
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                             SOFA – Exhibit 4-Insider Payments




Payments to Robert & Isabel - Feb 2022 - Feb 2023:

Payroll:
 Robert $84,930.73
 Isabel $67,730.73

Health Insurance:
 Robert $5,139.72
 Isabel $2,020.43

Expense Reimbursement:
 Robert $3,402.50
 Isabel $0.00
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                                                                District of Massachusetts
 In re    Parlee Cycles, Inc.                                                                                     Case No.
                                                                                Debtor(s)                         Chapter        11

                                                  LIST OF EQUITY SECURITY HOLDERS
Following is the list of the Debtor's equity security holders which is prepared in accordance with rule 1007(a)(3) for filing in this Chapter 11 Case

Name and last known address or place of                     Security Class Number of Securities                              Kind of Interest
business of holder
Estate of Richard Hayes                                                           5%                                         Shareholder
680 East Broadway
Haverhill, MA 01830

Jerome Fanucci                                                                    10%                                        Shareholder
4 Constitution Rd
Lexington, MA 02421

Robert Parlee                                                                     85%                                        Shareholder



DECLARATION UNDER PENALTY OF PERJURY ON BEHALF OF CORPORATION OR PARTNERSHIP

        I, the President of the corporation named as the debtor in this case, declare under penalty of perjury that I have
read the foregoing List of Equity Security Holders and that it is true and correct to the best of my information and belief.



Date February 6, 2023                                                    Signature /s/ Robert K. Parlee
                                                                                        Robert K. Parlee

                   Penalty for making a false statement of concealing property: Fine of up to $500,000 or imprisonment for up to 5 years or both.
                                                                    18 U.S.C. §§ 152 and 3571.




Sheet 1 of 1 in List of Equity Security Holders
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                                                                     Debtor(s)                    Chapter      11




                                   VERIFICATION OF CREDITOR MATRIX


I, the President of the corporation named as the debtor in this case, hereby verify that the attached list of creditors is true and correct to

the best of my knowledge.




Date:     February 6, 2023                               /s/ Robert K. Parlee
                                                         Robert K. Parlee/President
                                                         Signer/Title
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                      69 Federal LLC
                      36 Main Street
                      Wenham, MA 01984

                      Andrew Gray
                      4935 Steelhead Street
                      Juneau, AK 99801

                      Andrew Mackay
                      c/o Bespoke Cycling
                      30 Gresham Street
                      London UK EC2V7PG

                      Andrew Running
                      c/o Cronometro
                      338 West Lakeside Street
                      Madison, WI 53715

                      Anne Sehm
                      8307 North Classics Avenue
                      Fresno, CA 93720

                      April Joyce
                      c/o Gus' Bike Shop
                      55 Lafayette Road
                      North Hampton, NH 03862

                      Arthur Zerbey
                      1451 Great Pond Road
                      North Andover, MA 01845

                      Bank Gloucester
                      160 Main Street
                      Gloucester, MA 01930

                      Bank of America
                      P.O. Box 15796
                      Wilmington, DE 19886-5726

                      Bartosz Polak
                      Unit 1/27 Huntingdale Road
                      Oakleigh VIC 3166 Australia

                      BCA
                      155 Highway 46 West
                      Fairfield, NJ 07004

                      Beneficial/New Lane Financing
                      123 S. Broad St.
                      17th Fl
                      Philadelphia, PA 19109

                      Bespoke Cycles (for individual)
                      2843 Clay Street
                      San Francisco, CA 94115
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                  BOC International Inc.
                  21 Drydock Avenue
                  Boston, MA 02210

                  Bowen Sports Performance (individual)
                  225 NE Lafayette Avenue
                  Bend, OR 97701

                  Boyd Cycling
                  1105 Old Buncombe Road
                  Greenville, SC 29617

                  Calvin Fong
                  17 Telok Blangh Crescent
                  Singapore 090017

                  Capital One
                  PO Box 71087
                  Charlotte, NC 28272

                  Chase Card
                  P.O. Box 15153
                  Wilmington, DE 19886

                  Clifford Aronson
                  550 Polly Park Road
                  Rye, NY 10580

                  Cody Haight
                  18 Larose Avenue
                  Gloucester, MA 01930
                  Collete Trenchard
                  c/o FitWerx 2 MA
                  67 Foster Street
                  Peabody, MA 01960

                  Craig Underwood
                  1 Benjamin Place
                  Chestnut Hill, MA 02467

                  Cycles Bespoke
                  Unit 6/516 Guildford Road
                  Bayswater Wester Australia

                  David Klumpp
                  c/o Peregrine Bicycle Studio

                  David Musicant
                  c/o Landry's
                  790 Worcester Street
                  Natick, MA 01760
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                  Ed Liebowitz
                  29 Grove Street
                  Madison, NJ 07940

                  Encore Leasing Group, LLC
                  815 Mission Avenue, Suite 202
                  Oceanside, CA 92054

                  Eric Pinn
                  104 Island Planation Terrace
                  Vero Beach, FL 32963

                  Erik Meuleman
                  1445 Chamber Drive
                  Boulder, CO 80305

                  Fed Ex
                  P.O. Box 371461
                  Pittsburgh, PA 15250

                  Full Speed Ahead
                  12212 Cyrus Way
                  Mukilteo, WA 98275

                  Gary Straus
                  12264 Nasino Avenue
                  Las Vegas, NV 89138

                  Griffin McPartland
                  241 Oakland Avenue, Apt. 2
                  Oakland, CA 94611
                  Group Ostiguy (for individual)
                  24 Chemin de la rive
                  Lac-Beauport
                  QC G3B 1E1 CA

                  Hunter Kelley
                  22-55 38th Street, Apt. 2
                  Astoria, NY 11105

                  ITG International Transports, Inc.
                  6 Kimball Lane
                  Lynnfield, MA 01941

                  James Dwyer
                  135 Split Rock Road
                  Spring, TX 77381

                  James King
                  c/o Sky Blue Bikes
                  419R Queens Road West
                  Shek Tong Tsui, Hong Kong
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                  James Yearsley
                  c/o Push Cartel
                  North Road
                  Ableside, Cumbria LA22 9DT UK

                  Jan Silverskiod
                  101 Willits Way, Unit 103
                  Basalt, CO 81621

                  Jane Miller
                  c/o FitWerx VT
                  4312 Main Street
                  Waitsfield, VT 05673

                  Jay Bowen
                  c/o Perry Rubber Bike Shop
                  240 Bull Street
                  Savannah, GA 31401

                  Jim Bradley
                  2210 Van Hise Avenue
                  Madison, WI 53726

                  Joel Winer
                  2897 Deer Chase Lane
                  York, PA 17403

                  John Lees
                  16 Gurney Street
                  Cambridge, MA 02138

                  Kindsey Hironimus
                  4808 Tile Line Road
                  Crystal Lake, IL 60012

                  Lisa Chance
                  10 Old Colony Drive
                  Westborough, MA 01581

                  Lisa Predella
                  2 Flint Locke Lane
                  Medfield, MA 02052

                  Lisa Rtomancce
                  56 Beech Street
                  Lake Grove, NY 11755

                  Luke Mulkearns
                  208 Woodland Street
                  Strathmore, VIC 3041 Australia

                  Lyndall Robinson
                  14 Hillcrest Ave., Apt. 2
                  Beverly, MA 01915
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                  Mark Elliot
                  22 Skyview Road
                  Lexington, MA 02420

                  Mark Hitz-Hitz Cyclery
                  3012 Mahan Court
                  Grapevine, TX 76051

                  Mark Nardone
                  20 Oxford Street
                  Natick, MA 01760

                  Massachusetts Growth Capital Corp.
                  The Schrafft's Center
                  529 Main Street
                  Charlestown, MA 02129

                  Matt Ginsburg
                  229 East 12th Street, Apt. 54
                  New York, NY 10003

                  Matthew Babson
                  1 Blackburn Drive
                  Gloucester, MA 01930

                  Matthew Jensen
                  30 Manton Road
                  Swampscott, MA 01907

                  Matthew Springer+G89
                  471 Winding River Road
                  Hillsborough, NC 27278

                  McMaster-Carr
                  PO Box 7690
                  Chicago, IL 60680

                  Merrill Hayase
                  32 Alta Cascate Place
                  Henderson, NV 89011

                  Michael Digris
                  31 Cherry Street
                  Wenham, MA 01984

                  Neil Goldberg
                  c/o Landry's
                  790 Worcester Street
                  Natick, MA 01760

                  New England Draw Back Specialists
                  7 Vickery Lane
                  Rehoboth, MA 02769
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                  Panso Composites Co., Ltd
                  Skybox Composites Co., Ltd
                  12F No. 150, Jiuru 2nd Rd.
                  Kaohsiung City TW

                  Paul Reardon
                  620 Holly Road
                  Marshfield, MA 02050

                  Peak Manufacturing
                  325 Authority Drive
                  Fitchburg, MA 01420

                  Peter Joson
                  114 N Windy Point
                  Orange, CA 92869

                  Piermont Bicycle Connection
                  212 Ash Street
                  Piermont, NY 10968

                  Rand-Whitney Container LLC
                  PO Box 847459
                  Boston, MA 02284

                  Richard Manders
                  23 Cleveland Street
                  Somerville, MA 02143

                  Robert & Isabel Parlee
                  16 Milk Street
                  Essex, MA 01929

                  Russell Elliot
                  22 Skyview Road
                  Lexington, MA 02420

                  Scott Litwin
                  c/o Jim's Bike Shop
                  8015 Planfield Road
                  Cincinnati, OH 45236

                  Scott Millmit
                  2902 Brownell Avenue
                  Sullivans Island, SC 29482

                  Shimano American Corp.
                  PO Box 513838
                  Los Angeles, CA 90051

                  Signature Cycles
                  14 Railroad Avenue
                  Greenwich, CT 06830
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                  SRAM, LLC
                  24213 Newwork Place
                  Chicago, IL 60673

                  Steven Prebble
                  249 Hersey Street
                  Hingham, MA 02043

                  Steven Rossi
                  57 Rodman Lane
                  North Kingstown, RI 02852

                  Stuart Parker
                  190 Salem Street
                  Swampscott, MA 01907

                  Taylor
                  c/o FitWerx VT
                  4312 Man Street
                  Waitsfield, VT 05673

                  TCF Equipment Finance
                  11100 Wayzata Blvd., Ste. 801
                  Hopkins, MN 55305

                  Thad Beal
                  170 Varick Road
                  Newton, MA 02458

                  The Bicycle Lab
                  2600 NE 25th Terrace
                  Boca Raton, FL 33431

                  Tom Newberry
                  c/o FitWerx VT
                  4312 Main Street
                  Waitsfield, VT 05673
                  Tom Rodi
                  4 Patriots Landing
                  Essex, MA 01929

                  Tony Porter
                  c/o Bespoke Cycles
                  2843 Clay Street
                  San Francisco, CA 94115

                  U.S. Small Business Administration
                  2 North Street, Suite 320
                  Birmingham, AL 35203

                  UPS
                  P.O. Box 7247-0244
                  Philadelphia, PA 19170
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                  UPS Supply Chain Solutions, Inc.
                  28013 Network Place
                  Chicago, IL 60673

                  Victor Gasper
                  34 McDougall Street
                  Kensington, 2033 Sydney Australia

                  Vittoria Industries
                  1639 West Sheridan Avenue
                  Oklahoma City, OK 73106

                  Wendy Gaddy
                  c/o Velsmith
                  801 Ridge Road
                  Wilmette, IL 60091

                  Wrench Science (for individual)
                  1022 Murray Street
                  Berkeley, CA 94710
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                               CORPORATE OWNERSHIP STATEMENT (RULE 7007.1)

Pursuant to Federal Rule of Bankruptcy Procedure 7007.1 and to enable the Judges to evaluate possible disqualification or
recusal, the undersigned counsel for Parlee Cycles, Inc. in the above captioned action, certifies that the following is a
(are) corporation(s), other than the debtor or a governmental unit, that directly or indirectly own(s) 10% or more of any
class of the corporation's(s') equity interests, or states that there are no entities to report under FRBP 7007.1:



  None [Check if applicable]




February 6, 2023                               /s/ David B. Madoff
Date                                           David B. Madoff 552968
                                               Signature of Attorney or Litigant
                                               Counsel for Parlee Cycles, Inc.
                                               Madoff & Khoury LLP
                                               124 Washington Street, Suite 202
                                               Foxborough, MA 02035
                                               508-543-0040 Fax:508-543-0020
                                               alston@mandkllp.com
